CONTRACT AGREEMENT AND GENERAL CONDITIONS BETWEEN
GENERAL CONTRACTOR AND SUBCONTRACTOR

 

GONTRACT NO: 04-5581-19
| Contractor: Coastal Construction of South Florida, inc Contract Date: § February 1, 2006 Revised March 11, 2006
d/b/a! Coastat Condominiums
5959 Blue Lagoon Drive, Ste 200 Subcontractor: Praclsion Drywall, Inc,
Miami, FL 33126 601 N. Congress Ava, Ste 601
Detray Beach, FL 33446
GS License #: CG-CA08080
Contact: Jesus J. Barajas
Phone No: 661-278-7770
Project No: 04-6661 Fax No: 561-278-7950
E-Mail:
Projact: Villa Lago at Renaissance Commons Cost Code: 09-200 / Drywall & Framing

Bond Required: [xlyes [Ino

 

Contract Price: $2,476,000.00 (Two Million Four Hundred Seventy Five Thousand and 00/100 dollars}
* (Includes all applicable sales and use tax)

 

ARTICLE 1-
14 Subject to the terms and conditions contained herein, Subcontractor agrees to furnish alt material, equipment, labor and supervision as
required to complete the following described work in connection with the construction of the above referenced project, Including but not limited
to ait work a6 indicated per attached Exhibits:

-11 EXHIBIT "A" — Scope of Work Revised March 11, 2006

2 EXHIBIT “8” — List of Drawings

3 EXHIBIT "C" — Schedule

4 EXHIBIT “D" — General Jobsite Conditions Revised March 11, 2006
5 EXHIBIT “E* — Coastal Qualifications to Contract

6 EXHIBIT “F*— Residence Finish Schedule

7 EXHIBIT "G — Attachment No: 1 re insurance

8 EXHIBIT “H" Health and Safety Manual

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41.2 Notwithstanding the above mentloned scope of work, terms and conditions, this subcontract Is lump sum and includes any and all LABOR
AND MATERIAL FOR ALL WORK as required by the plans and specifications and all contract documents Inclusive; work will be performed In a
workmanlike mariner in complete accordance with these plans and specifications and with all applicable codes and regulations, ordinances, rules and
orders of any public authofily bearing on the performance of the work (and manufacturers suggested Instaliation standards, where applicable).
Subcontractor hereby acknowledges that he has received, read and is thoroughly familiar with sald plans and specifications and that tha methods,
sequences and procedures described therein for sald work are agreed upon and correct. .

1.3 Subcontractor will furnish and pay for all labor, materials, permits, scaffolding, equipment, machinery, tocls, apparatus, transportation, all
faguired shop drawings and samples, as part of this contract.

1.4 Subcontractor shall comply with all Federal, State and Local tax laws, Social Security Acts, Unemployment Compensation Acts and Workers
Compensation Acts to the extent that they apply to the performance of Subcontractor's work under this contract.

CLE 2 — COMPLIANCE
2.4. . The Subcontractor malntalns that ft is an entity duly organized, validly existing and In good standing under the laws of both the state of Its
formation and the State of Florida, Subcontractor further affirms that there ara no actions, sulls or proceedings pending or threatened against it which
could, directly or indirectly, adversely affect Subcontractor's performance under the contract, :
2.2. The Subcontractor has carefully examined the Contract Dacuments, including but not limited fo all drawings and specifications, and agrees
that the Contract Documents are adequate and sufficient for the performance of the work to be done under thls contract. .
2.3 Subcontractor acknowledges that he has visited the Job site and has become famlliar with all existing conditions or conditions affecting and
governing the construction of the project and shail furnish all laber, materials, equipment or other Items, facllitles and services for the proper execution
and complation of the Work under this contract.
2.4 Subcontractor can and will perform ail work required herein, In a timely fashion, In accordance with the project construction schedule as
provided by Goastal Condominiums, and so as not to delay the overall progress of the Job or the work of any other subcontractor.
2.5. The Subcontractor has and will maintain adequate skilled employees, workforces, materials, machinery and tools necessary and adequate to
accomplish the Work In accordance with Contractor's progress schedule.

ARTICLE 3 - INSURANCE

3 Subcontractors shall secure and pay for Insurance coverage as enumerated below. All coverages shall be written on an occurrence based
form. An original certificate of insurance In a form acceptable to Contractor shall be delivered to Contractor within ten (10) days from the full execution
hereof, or prior to commencement of any Subcontract Work hereunder by Subcontractor, whichever occurs firat. The certificate of insurance shall
evidence Insurance coverage at least In the minimum iimits as follows, or as may be further increased In connection with the requirements of the
Contract Documents:

Workman's Compensation Insurance Certificate - Florida Statutory Ilmits under all circumstances.

Commerelal Automobile Liability - $500,000 combined single Iimit.

Commercial Liability ~ $1,000,000 per occurrence, $2,000,000 aggregate amount, $2,000,000 for products and completed operations.

Umbrella Excess Llabillty $2,000,000 per eccurrence, $2,000,000 aggregate.
Subcontractor’s Commercial General Liability, Comprehensive Automobie Liability, and Umbrella/Excess Llabillty policies shall be endorsed to add
Contractor and Owner as additional Insured with respect to the performance of Subcontractors operations under this Subcontract Agreement and the

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Contrsst Documents, Such insurance afforded to Contractor and Owner as additional Insured under Subcontractor's policies shall be written on a per
project aggregate basis, primary Insurance and not excess over, or contributing with, any insurance purchased or maintained by Contractor or Qwner.
The completed operations coverage shall bs maintained by Subcontractor for two (2) years after the Project completion date. The certificate of
insurance must contain the provision that: “The coverages afforded shall not be cancelled or materially changed untit after at least thirty (30) days
written notice, by certified mail, return receipt requested, has been given to Contractor’.

ARTICLE 4 ~ PAYMENTS
44 Payment requests for completed work must be submitted on Coastal Condominium's Subcontractors Application for Payment, along with
Subcontracter's Affidavit on or before 20th of the month to be pald by or around the 15th of the following month as further conditioned in other
provisions of this contract. (Sample of Coastal Condominium’s Subcontractors Application for Payment and Subcontractor’s Affidavit are attached
hereto). The Contractor shal! retain TEN percent (10 %) retainage from every draw request from Subcontractor. Retainage must be billed seperataly

4,2 Subcontractor shail submit, prior to Its first payment request, a detalled Schedule of Values, a detailed schedule of suppliers, matarial men
and sub-subcontractors to be used ih the performance of this contract.

4.3 Subcontractor agrees and warrants that It has paid for all material , equipment and laber used In, or in connection with, the performance of Its
work under this contract through the period covered by payments recelved from the Contractor and that it shall furnish satisfactory evidence to
Contractor of such payments as further provided for herein,

44 Subcontractor shall provide reteases of Ilen for materiale and work performed under this contract In accordance with the requirements of
Chapter 713, Ftorlda Statutes, Further, should any mechanic's lien be filed by any supplier, materialman or sub-subsontractor of Subcontractor,
Subcontractor shall lnmediately cause such lien to be discharged or transferred to bond and Subcontractor shall protect, defend, indemnify and hold
both Contracter and Qwner harmless In respect of such llen.

4.6, Subcontractors's right to final payment is subject to the following provisions:

a) Subcontractor having givan evidence satisfactory to Contractor that the project Is free from llen and other claims arising by reason of the Work
performed by Subcontractor.

b) Subcontractor having satisfactorily completed any repalrs te the Work required under this contract Including but not limited to any and all contract
related items regarding Contractor or Owner/Architact punchllsts.

c) DelWvery to Contractor at the time of final payment, final releases of llen, affidavits and acknowledgements of payments for materlal, labor and
equipment under this contract.

d) Delivery to and acceptance by Contractor of all required close-out documents including but not Ilmited to as-bullt drawings, guaranties, operation and
malntenance manuals and the signed off completed punch list.

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5.4 There will be no change orders te this contract unless the Owner or Contractor specifically adds to or changes the scope of work, as
described herein. All Subcontractor change orders must be In writing and approved and signed by Contractor. Change orders that are not approved
and signed by Contractor shail not be valid,
6.2 Jobsite Is to be kept clean at all times. At the and of each work day, subcontractor must pick up all trash and scrap material he has created
at Interior and exterior of fobsite, and dispose In dumpster provided by Coastal Condominiums. Additionally, all Interior floors must be broom swept,
6.3 All slab, ceiling, wall penetrations, etc., must be patched In accordance with all applicable codes, including fire codas, as work progresses, 30
as not te hold up completion of any work.
54 All work performed and materials supplied under this subcontract will be warranted by this Subcontractor for a period of ane yaar (or longer as
required by the Specifications and Contract Documents) from the Contractor's recelpt of the latest of the following; 1) All Final Inspections, 2) Certificate
of Occupancy or 3} Final Acceptance of Owner, Architect and Contractor. Subcontractor warrants that all materlal used shall be new and that all work
performed under this contract shall be of the highest quality, fraa from faults and defects and in conformance with the Contract Documents.
Subcentractor shall insure that all manufacturers warranties for equipment shall remain in effect for the length of time as warranted by Manufacturer, or
as required by the Contract Documents, whichever is longer.
§.5 Subcontractor shall submit shop drawings, submittal data, brochures and samples ta Contractor In as many duplicate coples as Contractor
may require and no later than ten (10) days after notification therefore from Contractor.
6.6 Subcontractor agrees to immediately prepara for performance of the Work hereunder and to be prepared to begin such work as soon as
Instructed by Contractor and shall commence work upon receipt by Contractor of a notice to commence from Owner or other specifically written
direction by Contractor.
5.7 If, in the opinion of the Contractor, the Subcontractor falls behind In the progress of the Work to be performed hereunder, the Contractor may
direct the Subcontractor to take such steps es the Contractor deems necessary to Improve the rate of progress, including requiring Subcontractor to
Increase the number of shifts, overtime operationa, days of work, amount of workmen and/or amount of equipment and to submit for approval a
schedule demonstrating the manner In which the required rate of progress may be regalned, all without any additional costs whatsoever to Contractor.
Fallure of Subcontractor to immediately comply with Contractor's scheduling requests provided hereln shall be considered to bs an event of material
default hereunder and Contractor may assert any and alf remedies as provided herein. Should Subcontractor in any way cause delay to the Contractor,
any other subcontractor on the project or to any portion of the work described in the prime contract, Subcontractor shalt be lable to Contractor for any
and all damages sustained by Contractor as a result thereof, Including, but not limited to, all consequential damages and costs of continued
supervision, job overhead, insurance, project facllitles and other ongoing fixed costs. [n addillon, In the event Owner shall assess any delay damages
agalnst Contractor, elther pursuant fo 4 valid lfquidated damage provision In the prime contract or othenvise, Contractor shall have the right and option
fo deduct any and all such asseasments that are directly attributable to delays caused by Subcontractor from any amounts that may be owing to
Subcontractor under this agreement. Permitting Subcontractor to continue after the time to complete the work has expired shall not be construed as a
walver of damages from noncompliance with time requirements provided herein.
5.3 Contractor shall net be ilable to the Subcontractor for delay to Subcontractors work by act, neglect or default of the Owner or the Architsct or
the Engineer, or other Subcontractor's or by reason of fire or other casualty, or on account of rots, or strikes, or other combined action of the workmen
or others, or on account of any acts of Ged, or any other cause, beyond Contractor's contral, or on account of any circumstances caused or contributed
to by the Subcontractor, in any event, Contractor's ilabflity for delays shail expressly exclude consequential or Inckentat damages sustained by
Subeontractor for any other party.
5.9 Subcontractor shall maintaln a competent and experlenced superintendent or foreman on the project at all times, with authority to carry out
directives of the Contractor relating to the Subcontractor's work and responsibility, Subcontractor must at all times maintain, keep and supply adequate
tools, appliances, equipment and material and employ a sufficient number of properly skilled workmen to efficiently and promptly execute all work
required hereunder as requested by Contractor.
6.40 It Is specifically agreed by Subcontractor that a material matter of inducement and consideration for the award of this subcontract by
Contractor, is the Subcontractor's agreement that It will not look to the Contractor, or its surety, for payments hereunder uniess angluntil the Contractor

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has rebeived payment for Subcontractors work from the Owner and, further, that said payment by the Owner fs a apecific condition precedent to
Subcontractors right to payment by the Contractor or Its surety.

6.11 Subcontractor agrees not to post signs anywhere on the jobsite premises.

6.12 Subcontractor agrees that they shall not look tc Contractor for additional financial compensation should subsurface or otherwise concealed or
unknown physical conditions which differ materially from the contract documents or conditions of an unusual nature be uncovered or encountered.
Subcontractor agrees to proceed as directed by Contractor without delay to the project schedule fo correct, remove, alter and ramedy such concealed
physical conditlons or unknown physical conditions in a manner In which Subcontractor provides a complete scope of work acceptable to Owner,
Architect and Contractor.

6.13 Subcontractor agrees to comply with aff municipal, state and federal laws and ordinances, all federal OSHA and US or intemational trade or
patent agreements and such other laws as may be applicable, and to comply with all other laws and ordinances and to reimburse and save Coastal
Condominiums harmless fram any annoyances and fines having reference to the work and to give proper authoritlas all requisite notices relating to
the work and {o procure and pay for all necessary official llcanses, fees, royaltles, or permits for carrylng on the work described hereln, Subcontractor
shall defend all sults or claims for Infringement of any patent rights arising out of the work. Subcontractor shall correct, at its own cost and expense,
any violations thereof resulting from performance of the work, Subcontractor shall furnish such proof as Coastal Condominiums may request showing
compliance and corractlon of violations.

§.14 Subcontractor shail take all reasonable safety precautions with respect fo its Work and to comply with all applicable laws, ordinance, rules,
regulations, etc. relating to the safety of persons or property. Further, Subcontractor shall report any Injury on the Job site to the Contractor Immediately
upon the occurrence of sald Injury. Jn addition, the Subcontractor shall prompily properly complete, duly execute and deliver to the Contractor a written
report of the accident on # form furnished by or acceptable to Contractor. Subcontractor shall simultaneously deliver to the Contractor a true, correct
and complete copy of any and all reports and other documents prepared by or on behalf of Subcontractor In connection with the accident or occurrence
at the time of delivery of such report or other document to any of Subcontractors insurance cornpanies or thelr agents or representatives. Fallure fo
comply with Contractor's directives regarding safety shall be cause for the Contractor, at his diecretlon, to cause Sub-Contractor's forces to vacate the
project site until compliance is accomplished. In the event such action becomes necessary, any delays to the project as a result shall become the
responsibility of the Sub-Contractor under the terms and conditions of this agreement.

616 General Contractor, at its sole discretion, may prepare a monthly punchlist of unacceptable work itams and require all items to be corrected
as a strict condition to the Subcontractor eubmitting and General Contractor processing Subcontractors monthly Application for Payment. General
Contractor's monthly punchllst may Include items of work that, in the General Contractor's opinion, have not been completed in a timely manner and/or
are behind the construction schedule as determined by the General Contractor. Subcontractor shall remain responsible for the correction of any
defective or nonconforming work whether or not specifically noted on General Contractor's monthly punchlilat.

6.16 In consideratlon of the spacific sum of One Thousand ($1,000.00) Dollars and other specific consideration, all of which Is included in the Contract Prica and
the racalpt and sufficiency of which the Subcontractor, hereby acknowledges, Subcontractor shall, on behalf of Itself, and Its respective agents and employees, fo
the fullest extent permitted by law, protect, defend, Indemnify and hold Contractor and Owner, and their respective agents, partners, officers, directors, attameys,
employees and representatives harmless from and agalnet all Babilities, claims, damages, losses and expenses (including but not limited to, court costs and
attomeys’ fees Incurred through ail levels of proceedings and In bankruptcy) of every kind and nature, arising out of, In connection with or resulting fram the failure
of Subcontractor to perform, abide by or comply with any of the provisions of this Agreament, or arising out of, In connection with or resulting from the Intentional
wrongful act or negligent act or omission of Subcontractor, Its sub-contractors, vendors or anyone directly or Indirectly employed by any of them while performing
the Subcontractar’s work hereunder or delivering materials to the Project site, The indemnification obligations of Subcontractor shail not ba ilmited in any way by
any limitations on the arnount or type of damagse, compensation or benefits payable by or for Subcontiactor under worker's compensation acts, disability benefit
acts or othar employee benefit acts, except as otherwise provided by the laws of the State of Florida or any other laws having jurfediction. The obligations
expressed In this paragraph shall also be the obligations of the subcontractors surety under and bond{s) provided herein. The provicions of this Section shall
survive the expiration or sooner termination of this Agreement.

5.17 Subcontractor shall be fully responsible, financlally and otherwise, for any loss Incurred by Owner, Architect, Contractor, or any and all other
parties in the event of theft, accidental damage, vandalism or by any means whatscever by any employes, representative, contracted labor delivery
personnel or thelr agents, suppliers, or sub-subcontractor of Subcontractor, Further, Subcontractor shall provide compensation for any such lose within
72 hours of written notiflcation from Contractor of floss, regardless of subcontractors method of compensation to the damaged party available to
Subcontractor, whether Insurance or otherwise. in the event Subcontractor falls to compensate the Owner, Architect, Contractor or other partles,
Contractor, at Its sole discretion, shall have the right to deduct the dollar amount of the loss from any monies or other compensations due or
forthcoming to the Subcontractor undar the terms of this Agreement.

6.18 Subcontractor Is responsible for providing a secure storage area for his own materials, Contractor will not be responeible for any theft,
vandalism ot damages of any kind te Subcontractor's tools, equipment or materials.

6.19 Subcontractor shall be bound to Contractor by the terms of this Agreement and, to the extent that the provisions of the Contract Documents
between the Owner and Contractor apply to the Work of the Subcontractor, the Subcontractor shalt assume toward the Contractor all the obligations
and responsibilities which the Contractor, by sald Contract Documents, assumes towards the Owner and the Architect: provided, however that where
any provision of tha Contract Documents between Owner and Contractor ls inconsistent with any provision of this Agreement, this Agreement shall
govern as between Contractor and Subcontractor. At the Subcontractor’s request, Contractor shall make avallable, copies of the Contract Documents
to which Subcontractor shall ba bound.

6.20 Subcontractor's Project Superintendent shall attend all waekly project meetings and any and all other project related meetings as required by
Contractor. In addition, at Contractor's request, Subcontractor's principals (Owner(s), President, Vice President and all other persons) as required by
Contractor shall attend all project related meetings as scheduled by Contractor.

6.21 Contractor and Sub-Contractor for themselves, their heirs, successors, executors, administrators and assigns, do hereby agree to full
performance of the covenants of this agreement and agree that the provisions of this agreement and all rights and remedies provided herein shall be
construed under and governed by the laws of the State of Florida. In the event of suit by the Contractor er Its surety against the Sub-Contractor or its
euraty or theses with whom he deals on behaif of thls agreement, or sult by the Sub-Contractor or its surefy or those with whom he deale on behalf of
this agreement against the Contractor or its surety, then the venue of such suit shall be in Dade County, Florida and the Sub-Contractor hereby walves
for itself, its surety or those with whom he deals on behalf of this agreement whatever rights it may have In the selectlon of venue. Sub-Contractor and
its surety do hereby further agree thet the provisions conceming venue as contalned herein shall be specifically binding upon them, notwithstanding the
existence of any contrary venue provision which may be contained in any surety bond delivered to the owner by Contractor and/or Its surety. ‘

/ ARTICLE 6 - GHANGES
6.1 Coastal Condominiums may, without Invalidating the agreement or any bond given hereunder, order extra and/or additional work, deletions, or
other modifications fo the work, such changes te be effactiva only upon writtan order of Coastal Condominiums. Any adjustment to the subcontract sum
of to the time for completion of the work shall be made in accordance with the Contract Documents. in the event that the Subcontractor fafls to submit a
quotation within the time limit required Coastal Condominiums, subcontractor shall accept the decision of Coastal Condominigms for the value of the

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work.,Notwithstanding any inability to agree upon any sdjusiment or the basis for a nm adjustment. Subcontractor shall, if directed by Coastal
Condominiums nevertheless proceed in accordance with the order and the subcontract sum shall be adjusted as reasonably determined by Coastal
Condominiums with any dispute to be resolved after the completion of the work. If requested, by Coastal Condominiums, the Subcontractor shall
perform extra work on a time and materia! basis. The Subcontractor shall not recelve payment for additional work or work that deviates from the
Contract Decuments performed without 4 written authorization from Coastal Condominiums executed prior to commencement of any such work.

6.2 The value of the work to be changed, added or deleted shall ba determined by the Contract Documents or by one or more of the following
methods or combinations thereof as Coastal Condominiums may elect: (1) mutual acceptance of a lump sum with properly itemized costs: (2) unit
prices stated in the Contract Documents or subsequently agreed upon (unit price shall be deemed to include an allowance for all of Subcontractor’s
direct and Indirect costs, including without Ilmitation, office or shop expense, overhead, profit and bond): or (3) actual fleld costs Incurred in performance
of the changed work, plus allowance for overhead, supervision and profit defined as follows: .

6.2.4 Actual field cost shall mean costs necessarily Incurred In the proper performance of the work and pald by Subcontractor at rates not higher
than the standard pald in the locality of the project (except with prior consant of Coastal Condominiums) defined as follows:

6.2.2 Wages pald for labor In the direct employ of Subcontractor In performance of the work plus a payroll mark-up, acceptable to Coastal
Condominiums, to cover all overhead items applicable to payroll, such as insurance, taxes, FICA, workers compansation, unemployment taxes and
fringe benefits.

6.2.3 Net cost of ail materials, supplies and equipment used In or incorporated in the work.

6.2.4 Third party rental charges of all necessary machinery and equipment, exclusive of hand fools, used In performing the changed work, including
installation, minor repairs and raplacements, dismantling, removal, transportation and delivery costs thereof at rental charges consistent with those
prevaliing in the locallty of the project.

6.3 No additive change orders will bs requested by Subcontractor unless the Owner or Architect request changes, In writing, which add to the
scope of work defined herein. Subcontractors combined overhead and profit for changes will be computed on the following basis for ail revisions to the
subcontract sum:

6.4.1 Architact/Owner initiated changes: The maximum allowance for combined overhead and profit added to ltamlzed costs under a lump sum
proposal or to actual field costs shall be the lesser of (1) 15% or (2) the maximum percertage allowance permitted In the Contract Documents for
changed or extra work less an allowance to COASTAL CONDOMINIUMS for overhead and profit on such work, or (3) the maximum allowed by the
Architect/Owner, lass an allowance to COASTAL CONDOMINIUMS fer overhead and profit on such work,

6.3.2 Subcontractor initlated change otder/backcharge related to other subcontractors: Zero percent (0%) of the actual cost of the charge.

6.3.3 Contractor Initiated changes: Zero percent (0%) of the cost of the changas,

6.4 Coastal Condominiums shall have the right to inspect, copy and audit the books and records of Subcontractor or any sub-subcontractor
making clain for relmbursement for actual costs in order to verify the accuracy and allowability of all cost claimed.

6.6 All changes, additions or deletions to work ordered in writing by Coastal Condominiums shall be deemed part of the work heraunder and shall
be parformed In comptlancs with all provisions of the Contract Documents.

CLE 7 - ASSIGNM
7A Neither any payment herein provided to be pald to Subcontractor, ner any other right ot interest of Subcontractor hereunder shall be assigned
or transferred without Subcontractor first having recelved the expressed, written consent of Contractor. in the event Contractor shall agree to any such
transfer or assignment, Contractor specifically reserves the right to renegotiate or to add any additional provisions as may be necessary under the
circumstances and under no circumstances shall any such transfer or assignment relleve Subcontractor of any of Its obligations under this agreement.

ARTICLE 6 - FAILURE TO PERFORM

34 Should the Subcontractor fall to do or perform work required hereunder or in any other manner breach or fail to perform any of its obligations
and undertakings herein, thereby In the opinion of the Contractor causing or threatening to cause delay in genaral progress of the building, structure or
project, Contractor shall have the right fo any or all of the following remedies or courses of actlon:

a. Investigate the cause of such breach or failure and expedite sama In any way or manner whatsoever, or

b. Take charge of and complete the performance of this agreement and the work provided for herein, or

¢. Declare this contract to be breached by Subcontractor by twenty-four (24) hours notice to him as provided herein and renegotiate and re-
execute contract or contracts for the completion of the work requirad to be done under this agreement with such persons, firms or corporation as shall
be necessary In the opinion of Contractor. All lcsses, damages, and expenses, including interest, attorneys fees, courl costs, appellate attorneys fees
and appellate court costs In the prosecution of defense of any action or sult Incurred by or resulting to Contractor In the above account, or by reason of
any other breach of fallure by Subcontractor hareunder, shall be borne by and charged against Subcontractor and its surety, Including a ten (10%)
percent overhead and a ten (10%) percent profit, and shall ba the damages for breach of this agreement, and Contractor may recover on the bondis)
praviously described, if any, and both Subcontracter and its surety, if any, agree to pay Contracter such iosses, damages, expenses, interest, attomey
fees, court costs, appellate aftomeys fees, and appellate court costs, and including a ten (10%) percent overhead and a.ten (10%) percent profit.
Subcontractor further agrees that a breach of any other agreement between Contractor and Subcontractor pertaining to this or any othar construction
project shail be and constituter a materlal breach under this agreement, thereby enabling Contractor to assert all Its rights and remedies hereunder.
8.2 For any and all work performed by Subcontractor, Subcontractor shail eupply Contractor with submittals, shop drawings, atc. and receive
written approval from Contractor prior te the purchasing of matertals, fabrication or productlon and the performance of any work whatsoaver, Should the
Subcontractor commence with the purchasing of materials, fabrication or production or performance of any type of work, incurring any costs prior to
Contractor written approval of required subralttals, shop drawings, etc., then it shall be considered that Subcontractor has done so at its own risk and
shall not look to the Contractor or its surety for any compensation, financial or other wise.
8.3 Should it become necessary for Gontractor or anyone on Contractor's behalf, to incur any costs anc/or expenses, whether directly or
Indirectly, Including, but not limited to aftorney's feas, collection fees, court costs, mediation or arbitration expenses, or appellate attorney's feas, In
conneétion with any claim or demand asserted by Subcontractor, or as a result of Subcontractor's action or omission, Subcontractor and its surety, If
any, agrees to pay all such costs and/or expanses.

ARTICLE 9 -

9.1 The Contractor reserves the right to terminate this agreement and ali rights and obligations hereunder, with or without cause and at
Contractor's sole discretion, at any time up to seven (7) days prior to the scheduled actual commencement of the work by Subcontractor. The
Contractor further reserves the right, at any time after actual commencement of the Work by Subcontractor, to terminate this Agreement upon thres (3)
days' written notice to the Subcontractor. Upon the glving of any such notice fo terminate to Subcontractor, Contractor shall have the right to take
Possession of any materials, equipment or other Items related to the Work on the Job site. In the event Contractor terminates this agreament without
cause prior to commencement of work as further conditioned in other provisions of this agreement, then Contractor shall reimburse Subcontractor for
any reasonable out of pocket costs Incurred by Subcontractor for the actual preparation of performance of work under this agreertent. In the event
Contractor shall terminate this agreement after commencement of the work and whether with or without justifable cause, damades recoverable by

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Subcontractor, if any, shall be strictly !lmited to compensation to Subcontractor for services performed through the date of such termination, subject to
off set for damages, delays and costs to Contractor and other monetary loss to Contractor caused by sald termination.

ARTICLE 10 - APPROVAL OF WORK
10.1 All work is to be performed subject to the final approval of tha Owner, Architecl/Engineer (other design professionals if applicable) and

Contractor at thelr solé discration as fo the performance of the work In accordance with the plane and specifications and the true construction and
meaning of the plans and specifications shall be final. Subcontractor shall conform to and abide by any additional specifications, drawings or
explanations furnished by Architect or Engineer to IHlustrate the work to be performed.

10.2 All work and/or materials which are determined by the Owner, Architect/Englneer {other design professionals # applicable) or Contractor to be
defective or deficient In any manner shall be repaired, remedied, removed and/or replaced by the Subcontractor in the manner specified by the Owner,
Architect/Engineer (other design professionals If applicable) or Contractor, at the sole cost and expense of the Subcontractor. If Subcontractor falls to
$0 repalr defective work within a time specified by the Contractor, then Contractor may cause the defective work or materials to be repaired at the
expense of the Subcontractor. a a

11.1 in the event any work described herein shall be commenced or in any part undertaken by Subcontractor without Its having first executed this
agreement, and said Subcontractor shall have recelved a copy of this Subcontract Agreement, then Subcontractor and Contractor until the full
execution hereof, shall be deemed to have entered into an oral agreement, fully binding upon sald parties and contalning the Identical provisions as are
contained herein. .

ARTICLE 12 - THE AG
12.1 Subcontractor hereby acknowledges and agrees that Subcontractor will enter Into any agreements which may be required by any construction
lender for the project including, without Iimitation, (a) the Subcontractor’s agreement te continue the Work, (b) the subordination of Subcontractor's tien
rights to the lien of the construction mortgage, (c) the escrowing of releases of llen, (d) the Issuance of joint checks and {e) such other requiremente as
are generally required by construction lenders.
12,2 This subcontract is contingent upon Contractor's receipt of a fully executed Agreement between Owner and Contractor and all conditions and
provisions of sald Agreement having been met,
12.3 This contract, including the terms and condlitlons contained herein, embodies the entire agreement between the parties and no other
agreément, instructions or papars, oral or othanvise excapt those set forth in this agreement shall be deemed to exist or bind any of the parties hereto
relating to the subject matter hereof.
12.4 It ls Understood by Subcontractor that time is of the essence In the performance of the Work under this contract.

3
413.1 It Is specifically agreed by the Subcontractor that upon execution of this Contract Agreement, he must submit a copy of his Bepropriate
County Occupational License along with a State of Florida Specialty Contractors License or Certificate of Competency (as may be applicable), to
Coasta! Condominiums. Subcontractor further agrees fo keep all Hcenses current throughout the duration of the project. Failure to do so releases
Coastal Condominiums and the Owner from ail flability or responsibility for any payment whatsoever that may be due or becoma due hereunder.

- SPECI
14.1 Subcontractor shall provide Coastal a Payment and Performance bond(s) payable to Coaetal, In an amount equal to the contract amount as
specified above or as subsequently changed, on a form and executed by a surety satisfactory to Coastal undertaking to insure to Coastal the full and
faithful performance of all obligations and undettakings contained herein, and the payment of all Jabor and materials supplied by or through
Subcontractor hereunder. The original bond{s) shail be delivered to Coastal within ten (10) days from the full execution hereof, but in any event, prior to
commencement of any work hereunder by Subcontractor. All terms, conditions and obligations herein defined are specifically incorporated by reference
into the said bond(s) as though fully eet forth therein. Should the surety, at any future date become insolvent or othenvise In the opinion of Coastal to
be unable to financially support the bond, Subcontractor will within ten (10) days from the recelpt of request of Coastal, deliver a replacement bond to
Coastal In full conformance with this agreement. The cost of the bond Is Included in the subcontract amount.
14.2 Subcontractor agrees that It will not, under any clrcumstances, allow any person fo perform any work on the project, elther on or off site, on
behalf of subcentractor who Is not covered by subcontractor's worker's compensation insurance, in compliance with Sections 440:10 and 440.38, --
Florida Statutes, which are expressly incorporated herein by reference, Fallure to comply with this requirement shall constitute a material breach of the
Subcontract Agreement by subcontractor.

IN WITNESS WHEREOF, the partles hereto have executed thls Agreement on the day and year first above written.

 

 

SUBCONTRACTOR: PRECISION DRYWALL, INC. Cone CONSTRUCTION OF SOUTH FLORIDA, ING
Shy
By: “
CHa
Print Name: VS. wN OSE Ss. badge Ras min Name:

 

 

 

 

 

 

 

Title: Passe wt Title: Vice resident ident}
Date: ~ 6-06 Date: vr 4!

Page 5 of 6
& }
CONTRACT AGREEMENT BETWEEN GENERAL GONTRACTOR AND SUBCONTRACTOR — May 30, 2003 Initial, we

PD000194
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EXHIBIT “A” SCOPE OF WORK ATTACHMENT? TO
CONTRACT AGREEMENT AND GENERAL CONDITIONS BETWEEN
GENERAL CONTRACTOR AND SUBCONTRACTOR

 

Contract Date: February 1, 2006 Rey March 11, 2006 Project: Villa Lago at Renaissance Commons

Subcontractor: Precision Drywall, Inc. Project No: 04-5581 Cost Code: 09-200

 

The “Subcontractor’s Work” includes all labor, supervision, materials, equipment, scaffold, services,
supplies, tools, facilities, transportation, storage, receiving, taxes, licenses, inspections, certifications,
overhead, profit, insurance, and other items required or reasonably inferable to properly and timely
perform and complete all DRYWALL & FRAMING Work as per the Agreement including the Plans
and Specifications

SUBCONTRACT INCLUSIONS, The “Subcontractor’s Work” specifically includes, but is not limited to the
following:
GENERAL:

2;], Subcontractor shall provide a payment bond and a performance bond in amounts equal to the Subcontract

Sum.

   

3-2. Area of work includes
PhaseI East Building
Phase II West Building
Phase I Garage
Phase IV Clubhouse

43, Full time superintendent for the duration of your work, Subcontractor recognizes noultiple mobilizations
may be required to complete scope of work referenced herein.

3,4, Subcontractor includes any hoisting and scaffold costs for his work, All stocking the responsibility of this
subcontractor.

6.5, The City of Boynton Beach has strict working regulations, working hours and code requirements, as well as
strict working requirements with regards to OSHA safety. If at any time the City of Boynton Beach, Palm
Beach County or OSHA requires Coastal to stop work due to the fault of this subcontractor, in addition to
any other rights and remedies Coastal may have under the contract documenias, this subcontractor agrees to
pay all fines and cost of remobilization incurred by Coastal and any and all remobilization cost of any other
subcontractors working at the site at the time of the violation and/or stop work order. Furthermore, the
subcontractor expressly agrees and understands that Coastal has relied upon this subcontractor’s local
knowledge and expertise of the City of Boynton Beach. The County of Palm Beach and OSHA code
requirements, working requirements and licensing requirements and has relied upon this subcontractor
incorporating the cost of all such working requirements, licensing requirements and code requirements in
the contract price and in entering into this contract for the work described herein, Subcontractor shall not b

_ entitled to any additional compensation for any such working requirements, licensing requirements, code
and/or OSHA requirements. As part of the working requirements of the City of Boynton Beach and/or the
County of Palm Beach Florida , subcontractor acknowledges that it must register with these local
authorities and agrees to provide Coastal with a copy of its registration prior to beginning work.

7,6, This subcontract is aware and agrees that one (1) of each unit type will be roughed along with the other
trades, There will be an approval walk through with the Owner prior to proceeding with roughing any
additional units. All relocations required by the Owner because of aesthetics, alignment or centering with
other trades work would be performed at no additional cost for these units or the balance of the units in the
project.

SCOPE OF WORK
1, Provide all metal framing for walls, ceilings, chases, pleaums and soffits as may be required and necessary,
as indicated on Architectural, MEP and Fire Sprinkler drawings.
2. Ali clubhouse work is included.

Page | of 5 Sub Initia <4
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EXHIBIT “A” SCOPE OF WORK ATTACHMENT TO
CONTRACT AGREEMENT AND GENERAL CONDITIONS BETWEEN
GENERAL CONTRACTOR AND SUBCONTRACTOR

 

| Contract Date: February 1, 2006 Rey March 11, 2006 Project: Villa Lago at Renaissance Commons

Subcontracior: Precision Drywall, Inc, Project No: 04-5581 Cost Code: 09-200

 

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Provide four iwo full time supervisors to insure correct installation and supervise work. Supervisors can be
phased in as work increases.

Provide for all blocking as 20 gage metal backing in drywall that may be required and necessary to fasten
other items i... kitchen cabinets, vanities, laundry cabinets, toilet accessories, handicap accessories, tcilet
partitions, etc, and as indicated on plans.

All lay out is included, based upon the previously established control lines.

Arches to outside corridors at elevator lobbies are included.

All metal stud system and framing work including, but not necessarily limited to the following:

1. All required hot dip galvanized or factory pre-painted standard punched steel studs as required by
the contract documents.

2, All required accessories including tracks, clips, anchors, fastening devices, sound attennation
pencil rods and resilient clips.

3. Typical interior partitions (gauge per plans) in stud width as required by field conditions or as
shown on the drawings. Furring/framing width as required by field conditions for bathroom
plumbing wet walls rough-in.

4. Metal stud spacing shall be 16” on center in lieu of 24” on center, and shall be 20 guage.

5. 1-5/8" metal stud framing is included at both sides of the unit separation walls and at the exterior
walls in lieu of [” x 4” fire treated wood which is unacceptable to the City of Boynton Beach.

6. Framing of soffits, drop ceilings, knee walls.

7. Install hollow metal door frames in drywall partitions.

&. Pressure treated wood buck framing both sides and top of all windows and sliding glass doors,
Caulk where attach wood bucks to substrate. Perimeter caulking of wood bucks to subsirate,

%. Blocking per details on plans and as required for door openings. Drywall return at interior side of
hollow metal unit entry doors as required.

Included is all Gypsum Wallboard work including, but not limited to:
Gypsum drywall construction, taping and finishing. Returns to window and door frames are included.

. Metal framing for drywall is included.

: Provide and install joint and square comer reinforcing, adhesive, tape, and finishing.

. Drywall accessories are included.

. Suspension systems for drop ceilings and interior soffits are included as shown.

. Subcontractor shall tape, float and finish al] drywall partitions as outlined within the contract Documents.

Upon completion of the Work, the floors shall be scraped clean of all “drywall mud”, All surfaces will be
cleaned of taping compound after completion of that operation.

. Condo unit high ceilings knock down texture applied to underside of concrete, prepped with joint

compound, grinding ifrequired by others. Drop ceilings receive knockdown texture finish,

. Condo walls receive medium knockdown texture finish, except Kitchen and Bath Walls that shall have a

smooth finish, Ceilings shall have a light texture knockdown finish.

. Fire rated partitions and chases shall be in accordance with the drawings and meet the appropriate UL listed

ratings required for each installation whether or not it is properly shown on the drawings.

. All rain leader chase locations, as indicated on drawings.

. All rated chases for reftigerant lines as indicated on drawings.

. Moisture resistant gypsum board at all bath walls, bath coilings shall be installed as standard gypsum board.
. Bi-fold doors have a drywall wrap jamb condition.

. Drywall wrap jamb and sill return condition, no marble or granite sills,

. Any areas where plumbing stacks, hangers, electrical boxes, etc. are extending out past the face of the wall,

must be identified to Contractor in writing prior to the installation of the drywall.

. Subcontractor shall install access doors occurring in drywall, including any required backing, Access doors

shall be furnished by others.
Clubhouse and public restroom finishes as follows, Wall finishes: Interior drywall units shall be full height
to deck and-primed. Exterior block walls shall receive furring, insulation and drywall per the same detail as

Page 2 of 5 Sub Initfa

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EXHIBIT “A” SCOPE OF WORK ATTACHMENT TO
CONTRACT AGREEMENT AND GENERAL CONDITIONS BETWEEN
GENERAL CONTRACTOR AND SUBCONTRACTOR

 

| Contract Date: February 1, 2006 Rey March 11, 2006 Project: Villa Lago at Renaissance Commons

Subcontractor: Precision Drywall, Inc. Project No: 04-5581 Cost Code: 09-200

 

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the condo unit exterior walls and shall be primed. Ceiling finishes: Suspended drywall ceilings or drop
down areas with a knockdown textured finish and concrete ceilings with a direct applied knockdown
textured finish in all areas except office areas, foyer, gallery and club room which shall have a flat-furred-
drywall ceiling, Jevel IV finish. Domed or coffered ceilings in the gallery area are not included. Window
head, jamb and sill conditions shall include a drywall return. Wall finish shall be type IV smooth finish in
clubhouse.

Supply and install caulking of trash room tracks, all four sides.

It shall be the responsibility of the Subcontractor to insure that each Finisher on this Project has adequate
lighting in each room to do a “first class” job of finishing drywall. Extension cords for lighting will be the
responsibility of the Subcontractor. Contractor shall supply electrical service for small tools and lighting
on each floor. Pointing of drywall finish between coats of paint.

Subcontractor shall provide a minimum 25 man-hours per unit to punch out,

All fire rated and non-rated drywall walls where ducts, pipes, conduit, or mechanical items penetrate, the
walls must be sealed tight as per governing code requirements and as shown on the Contract documents.
Farty that makes penetration is responsible for code compliance.

Subcontractor shall shim all furring as reasonably required to obtain straight, level, plumb and true walls
and columns, All framed walls and corner bead shall be straight, level, plumb and true.

Install column drywall after framing inspection or use moisture resistant board on column wraps.

SUBCONTRACT TIME, The “Subcontractor's Work” shall be completed as follows:

 

1,

Subcontractor is awate that the Owner will occupy and/or utilize the buildings from date of notice to
proceed as follows:

Phase I East Building in 310 calendar days

Phase II West Building in 388 calendar days

Phase If Clubhouse in 430 calendar days

and will schedule work crews and materials accordingly. Subcontractor will notify Contractor

immediately, in writing, of any material deliveries or other problems that might cause delay to the project.

i, Within ten (10) days of the award of the Contract, Subcontractor shall provide a detailed

itemized schedule of all equipment and material to be provided by this Subcontractor and
a detailed schedule of activities of work to be performed by this Subcontractor, The
schedule shall reflect the overall time frame required te complete the work in this
agreement. This information will be incorporated into the schedule as much as possible
and still maintain the required finish date required by the Owner.

ii, Delays due to clarifications from Subcontractor’s foreman will not be allowed.
Subcontractor shall plan ahead and ask necessary clarifications in writing prior to the start of the
work in order to avoid delays to the established durations.

Subcontractor understands that work is performed simultaneously in each building and they are to
have adequate crew size, materials and equipment for each building to achieve the schedule.

The Subcontractor shall meet or better the durations established in the Contractor’s schedule and
conform to the Superintendent's two — week production schedules. Any construction schedules used at the
site or distributed in any way by Coastal Condominiums to the subcontractor are diagrammatic only and
are used as a guide only. Notwithstanding anything contained in any of such schedules which may be
distributed from time to time, the subcontractor expressly agrees to perform it’s scope of work within the
durations described below for each phase of it’s work in each building, The commencement date of part
or all of the scope of work shall be determined by Coastal in its sole discretion, Failure to perform part or
all of its scope of work within the applicable duration(s) set forth below will constitute a material breach
of contract by this subcontractor.

Framing Activity 8 Units per Day

Hanging Activity 8 Units per Day

Finishing Activity 8 Units per Day

Subcontractor agrees to mobilize within one week of notice that the work area will be ready.

Page 3 of 5 Sub Initial

PD000197
EXHIBIT “A” SCOPE OF WORK ATTACHMENT TO
CONTRACT AGREEMENT AND GENERAL CONDITIONS BETWEEN
GENERAL CONTRACTOR AND SUBCONTRACTOR

 

| Contract Date: February 1, 2006 Rev March 11, 2006 Project: Villa Lago at Renaissance Commons

Subcontractor: Precision Drywall, Inc. Project No: 04-5581 Cost Code: 09-200

 

SUBMITTALS. The Subcontractor shall submit Ten (10) copies of shop drawings, product data, and four samples
at this time. The Architects or Engineers rejection of submittals does not relieve this Subcontractor of the
responsibility for maintaining the completion its work activities per the project construction schedule.
Submittals required include:

Product Data

MSDS sheets

Safety Plan

Fall Protection, scaffolding and ladder training program and certification

Letter of Competent person on jobsite

OSHA and First Aid training certificates for personnel on jobsite

AYR Yr

SUBCONTRACT EXCLUSIONS The “Subcontractor’s Work” specifically excludes the following:
1. Furnishing of trash dumpster.
2. Foil backed gypsum board.
3. Attic draft stops.
4, Insulation

UNTT/ALTERNATE PRICES, The following unit/alternate prices will apply to any Modifications to this
Agreement. These unit/alternate prices include all costs, including delivery, hoisting, storage, labor, material,
equipment Usage, supervision, overhead, profit, bonds, insurance, sales/use taxes and all other items required for

incorporation into the Project:
1. Add including wood buck framing if use adjusta-fit hollow metal frames at the 242 unit entry
doors. Add $1,935
2. Add including wood buck framing if use adjusta-fit hollow metal frames at exterior passage doors per
door, Add $15/door opening
3. Material adds $46 £25 per sheet of drywall including corner bead, compound, tape & screws
4. Common Labor $25 per hour
5. Trades men $32 $38 per hour
6. Supervision $36 $42.50 per hour
MATERIAL ESCALATION. Subcontractor has included all costs of material based on prices as of April 1, 2005.

Any increases required during the duration of this construction project will be based on material cost increases
between April 1, 2005, and the date the materials are delivered to the site. Increases must be verifiable and subject to
complete and proper documentation. No overhead or profit shail be added to the Charge Order Request.

CONDOMINIUM. Subcontractor acknowledges that this project is a condominium project and as such is required
to comply with Florida statutes governing condominiums including chapter 718, Subcontractor agrees to increase or
extend all warranties as per the requirements of the condominium law, Subcontractor hereby expressly agrees that
in the event the owner or any successor condominium association makes any demands on the contractor or initiates
any legal action or proceedings, including without limitation, any arbitration, or mediation proceedings against
contractor and/or its principals, officers, directors, employees or agents with respect to any portion of the work
under the subcontract documents, subcontractor shall cooperate fully with contractor and provide such information /
documentation with respect to any such demands, actions or proceedings and hold harmless the contractor from any
action with regards to subcontractors work. This provision shall survive the completion of the work under the
subcontract and any warranties of subcontractor described herein, under the subcontract documents and/or under the
law.

WORKING REQUIREMENTS The City of Boynton Beach has strict working regulations, working hours and
code requirements, as well as strict working requirements with regards to OSHA safety. If at any time the City of

Page 4 of 5 Sub Initial

PD000198
EXHIBIT “A” SCOPE OF WORK ATTACHMENT TO
CONTRACT AGREEMENT AND GENERAL CONDITIONS BETWEEN
GENERAL CONTRACTOR AND SUBCONTRACTOR

| Contract Date: February 1, 2006_Rey March 11, 2006 Project: Villa Lago at Renaissance Commons

 

Subcontractor: Precision Drywall, Inc. Project No: 04-5581 Cost Code: 09-200

 

Boynton Beach, Palm Beach County or OSHA requires Coastal Condominiums to stop work due to the fault of this
Subcontractor, in addition to any other rights and remedies Coastal Condominiums may have under the contract
documents, this Subcontractor agrees fo pay for all fines, fees and cost of remobilization incurred by Coastal
Condominiums and any and all remobilization cost of any other Subcontractor(s) working at the site at the time of
the violation and/or stop work order, Furthermore, this Subcontractor expressly agrees and understands that Coastal
Condominiums has relied upon this Subcentractor’s local knowledge and expertise of the City of Boynton Beach
Florida, The County of Palm Beach Florida and OSHA code requirements, working requirements and licensing
requirements and has relied upon this Subcontractor incorporating the cost of all such working requirements,
licensing requirements and code requirements in the contract price and in entering into this contract for the work
described herein. Subcontractor shall not be entitled to any additional compensation for any such working
requirements, licensing requirements, code and/or OSHA requirements, As part of the working requirements of the
City of Boynton Beach Florida and/or The County of Palm Beach Florida, Subcontractor acknowledges that it must
register with these local authorities and agrees to provide Coastal Condominiums with a copy of its registration prior

to beginning work.

SCHED S

Any construction schedules used at the site or distributed in any way by Coastal Condominiums to the subcontractor
are diagrammatic only and are to be used as a guide only. Notwithstanding anything contained in any of such
schedules which may be distributed from time to time, the Subcontractor expressly agrees to perform it’s scope of
work within the durations described below for each phase of it’s work in each building, The commencement date of
part or all of the scape of work shall be determined by Coastal Condominiums in its sole discretion, Failure to
perform part or all of its scope of work within the applicable duration(s) set forth below will constitute a material
breach of the contract documents by this Subcontractor.

Framing Activity 8 Units per Day
Hanging Activity 8 Units per Day
Finishing Activity 8 Units per Day

CHANGES TO THE WORK, Notwithstanding anything contained within the subcontract documents to the
contrary, only Steven M. May Vice President er Sean M. Murphy Vice President of Operations and/or Debbi
LaPenta, Project Manager are authorized to sign change orders or construction change directives on behalf of
Coastal Condominiums. No other employees or representatives of Coastal Condominiums, including, without
limitation, project managers, superintendents and/or project engineers are authorized to sign change orders,
construction change directives and time and material tickets, Any changes in the work which are performed by this
subcontractor without a written change order signed by Steven M. May Vice President or Sean M. Murphy Vice
President of Operations, shall not be deemed to be an authorized change to the work and this subcontractor hereby
waives its entitlement to any and all payment/compensation for such work, including, without limitation,
compensation for labor, materials, supplies, equipment, removal of unanthorized work and any other costs incurred
by subcontractor in connection herewith.

   

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Page 5 of 5 Sub Initial
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Contruct Date; August 26, 2003

EXHIBIT “A” SCOPE OF WORK ATTACHMENT TO
CONTRACT AGREEMENT AND GENERAL CONDITIONS BETWEEN
GENERAL CONTRACTOR AND SUBCONTRACTOR

Project: Villa Lago at Renairsance Cammons

Subcontractor; Precision Drywall, Inc. Project No: 04-SS§1_ Cost Cade: 09-200

The “Subcontractor’s Work” includes all labor, supervision, materials, equipment, scaffold, services,
supplies, tools, facilities, transportation, storage, receiving, taxes, licenses, inspections, certifications,
overhead, profit, insurance, and other items required or reasonably inferable to properly and timely
perform and complete all DRYWALL & FRAMING Work as per the Agreement including the Plans

and Specifications
SUBCONTRACT INCLUSIONS, The “‘Suboontractor’s Work” specifically inciudes, but is not limited to the
following:

GENERAL:

1, Subcontractor shall provide a payment bond and a performance bond in amounts equal ta the Subcontzact
um”

2, Area of work inohides

Phase { East Building
Phase I] West Building
Phase I Garage
Phase TY Clubhonse
Full time superintendent for the duration of your work, Subcontractor recognizes multiple mobilizations may
be required to complete scope of work referenced ‘herein.
3. Swbcommactor includes any hoisting and scaffold costs for his work. All stocking the respansibiliry of this
subcomtracior. :
4, The City af Boynton Beach has strict working regulations, working hours and code requirements, as well as
steiot working requirements with regards to OSHA safety. If at any time the City of Boynton Beach, Palm
Beach County or OSHA requires Coastal to stop work due to the fault of this subcontracior, in addition to
any other rights aad remedies Coastal may have under the contract documents, this suboontractor agrees to
pay all fines and cost of remobilization inoured by Coastal and any and al! remobilization cost of any other
subcontractors working at the site at the tims of the violation and/or stap work order. Furthermore, the
subcontractor expressly agrees and understands that Coasia! has relied npon this subcontractor’s local
knowledge and expertise of the City of Boynton Beach. The County of Palm Beach and OSHA code
requiremerts, working requirements and licensing roquirements and has relied upon this subcontractor
incorporating the cast of all such working requirements, Hoensing requirements and code requirements in
the contract price and in entering info this contract for the work described herein, Subcontractor ghall not 6
entitled to any additional compensation for any such working requirements, licensing requirements, code
and/or OSHA requirements, As part of the working requirements of the City of Boynton Beach and/or the
County of Pala Beach Florida , subcontractor acknowledpes that it must register with thesc Socal
authorities and agrees to provide Coastal with a copy of its registration prior te beginning work.
$3. This subcontract is aware and agrees that one (1) of each unit type will he rooghed along with the other
trades. There will be an approval walk through with the Owner prior to proceeding with roughing any
additional wuits. Al! selocations required by the Owner because of aesthetics, alignment or contesing with
other trades work would be performed af. no additional cost for these units or the balance of the units in the

project.

SCOPE OF WORK ae

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Exhibit “BRB”

%S Coastal

 

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Sheet # Architectural: Mouriz Salazar Architects Revision] Received

Date Date
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Plan

of Main Entrance
Floor Plan
Floor
- |Second ‘ Plan
Plan
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Fourth Life Plan 41/12/05
Fifth 2/05
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Plan 1/1
Sixth Floor Plan

Pian - North
Ground
Ground Floor Plan - South

Floor Reflected

Plan - North
Plan -

Roof Plan -

Roof - South

& Unit Schedules
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A-B.4

Exhibit a

Unit Blow
interior -

Sections
Wall Sections
& South T)
Elevator
#2

Detalls

Structural: J. Eduardo GonZalez P.E.

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Exhibit “B”

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34 Floor
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6.2 Floor
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& Fram

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HVAC: Florida Engineering Services

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AC-2.1.2N
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Exhibit “B”

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Plumbing: Florida Engineering Services

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: und Floor - South 1A2/05
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P-2.1,1S Plan - South 2/05
2nd thru « North 2/05
P-2.1.25 thru Plans - South 1
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P-2.1.6S Floor - 2/05
P-2,1. - 12/05
: « South 4A

Riser 4
P-3, =
P-3.1 Riser “
P-3.1 Riser ram
P-3.1.4 {Storm - West
P-3.2.4 - East
P-5.1 General Plum otes

Fire Protection: Florida Engineering Services

SP-0.1
SP-1,
SP-2.1. Plan -
: Floor Plan -
SP-2,1 2nd thru /21405
1.2.5
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SP-2, Plan - : 121/05
SP-2.1. Roof Plan - 1 ; 1
SP-2.2.1N |Ground . 1/2
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It is intended that a revised Plan, Sheets, and Details be issued on or about July 7, 2005.
Contractor shall immediately evaluate, discuss, and price all changes by August 5, 2005.
Additionally, Contractor shall make its best effort to minimize cost impact,

 
 

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No. 4850

Exhibit “C”

Jun, 24. 2005 4:18PM

 

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EXHIBIT “D” ;
SUPPLEMENT TERMS AND CONDITIONS

Villa Lago at Renaissance Commons ~- Project No: 04-5531

 

 

A. Project Policies and Administration

1. Itis understood and agreed that cach Subcontractor will be connected to the Project via an
internet address and/or facsimile copier and that information sent and identified as received (or
complete) will have the sane status as mailed correspondence. Legal information and fonnal
notices will not be delivered via e-mail.

2. Each Subcontractor’s jobsite supervisor shall have a Nextel telephone/radio set up to
communicate with all Project participants.

3. In addition to Article 5.9, the Subcontractors’ Superintendent must have an extensive knowledge
of the work, be able to effectively communicate in English with the Contractor’s staff, have a
complete set of current Contract Documents, all approved shop drawings associated with the
work, and a copy of this Subcontract Agreement at the jobsite at all times. The resume of the
superintendent and the project manager shall be submitted to Contractor for review and approval
prior to the assignment of the jobsite. Contractor reserves the right to remove from the project
site, at no cost to Contractor or without affecting the Subcontractor’s responsibility to maintain
the schedule, any personnel objectionable to the Owner, Architect or Contractor, This includes
Subcontractor’s supervisory personnel. Any change in supervision initiated by the Subcontractor
must be in. writing to Contractor prior to the change taking effect.

4. Subcontractor’s representative shall attend weekly jobsite meetings each Monday at 2:00 p.m.
At the mecting, cach Subcontractor shall present current and future needs including coordination
requirements, time, sequences, deliveries, access, site utilization, design problems, etc...
Attendance at the weekly subcontractor meeting is mandatory. There will be a $150.00 fine
imposed for any subcontractor that misses the meeting without prior consent of the project
manager or general superintendent.

5. Subcontractor’s Superintendent or Foreman shall report to the Contractor’s Superintendent prior
te commencing work on the project, and report again after absence from the project to advise
Contractor’s Superintendent of the particular phase of work Subcontractor is about to perform.

6. Subcontractor shall complete Contractor’s daily report forms at the end of each workday and
submit to the Contractor no later than 10:00 a.m, the following day.

7. Jobsite work hours shail be Monday through Friday, 7:00 am. to 5:00 pm. Saturday 8:00am to
3:00 pm for focused work activities, make-up rain days or when a subcontractor is behind
schedule.

8, Subcontractor’s crew will not be allowed to utilize the Contractor’ s office equipment and/or
phone except in an emergency,

9. Contractor will designate an area in the construction Field Office for punchlist. Subcontractor
must report to the field office every morning no later than 7:30 a.m, Punchlist must be
completed, initialed, and retummed within a 24-hour period of time.

10. The Subcontractor shall take particular care to locate and store all heavy material and equipment
on floor areas in 2 manner acceptable to the Structural Engineer, Architect, and Contractor,

  

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mo EXHIBIT “D”
SUPPLEMENT TERMS AND CONDITIONS
Villa Lago at Renaissance Commons - Project No: 04-5581

 

11, The placement and storage of materials required for this work shall be under strict guidance and
approval of the Contractor’s Superintendent. Subcontractor shall not restrict the flow of traffic
into or around the project site. If materials are required to be relocated, Subcontractor shall
provide labor/equip:ment to relocate material to new location designated by the Project
Superintendent at no additional cost.

12. Subcontractor shall take every precaution in the protection of all structures, streets, sidewalks,
materials and work of other Subcontractors. Damage caused by this Subcontractor shall be
corrected at no cost to the Contractor, Subcontractor shall protect their work, which is likely to
be damaged by the elements or by other trades working in the area.

13. The Subcontractor recognizes that the conercte slab is the finished floor product and that it may
not receive floor covering. The Subcontractor agrees to take all precautions and provide all
protection necessary to ensure that the concrete floor will not be marked, spotted, stained or
damaged in any way from Subcontractor’s operations. This includes drop cloths to protect from
paint, drywall compound, etc., “diapering” engines, differentials, transmissions and other
equipment and machinery components with the potential to leak oils and fluids, “boots” on
tubber-tired equipment if tires are leaving marks on the floor, prohibiting the use of layout
marking material that will permanently mark the slab.

14. Deliveries must be scheduled a minimum of 24 hours in advance with the Contractor’s
Superintendent, Subcontractor’s representative must be on-site to accept, unload, handle, store,
protect, and coordinate deliveries. Unscheduled deliveries may be refused. Material must be
scheduled to arrive just prior to incorporation into the work. Any storage duration longer than
seven (7) calendar days will only be allowed if approved by the Contractor.

15, Locate, verify, and safeguard utilities. Lf this Subcontractor’s work requires digging, this
Subcontractor is responsible for contacting the utility locating service prior to digging to locate
and verify all utilities. Any and all conflicts with existing utilities shall be reported to the
Contractor. Subcontractor shall take the necessary precautions to safeguard all existing structure
and utilities. The location of existing utilities shown on these plans is approximate only and is
based on survey and as-builts information. Additional utilities may exist which are not shown on
these plans, Subcontractor is solely responsible for damages he creates to existing utilities
(overhead or underground and roadways) and such damage will be repaired at the Subcontractor’s

expense.

16, The Subcontractor agrees to fully comply with the General Contractor’s project clean up policy,
In addition to Article 5,2, the Subcontractor shall provide labor for a composite clean-up crew in
proportion to their manpower on the project on a weekly basis, or as directed by the
Superintendent. One person per every ten people or portion thereof. If Subcontractor does not
perform composite or regular clean-up within the given time frame, the Contractor shail have the
right to perform these services for which Subcontractor agrees to reimburse Contractor at $30/per
hour per person.

17. Work the Contractor performs for the Subcontractors shall be deducted from the Contract at the
rate of $25 ,00/hour for carpentry and concrete forming labor and $20.00/hour for general labor
without any allowance for ovérhead and profit.

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SUPPLEMENT TERMS AND CONDITIONS
Villa Lago at Renaissance Commons ~ Project No: 04-5581
Precision Drywall, Inc Coiitract No 04-5581-19 Revised March 11, 2006

 

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In addition to Article 6.3.2, Subcontractor agrees that at any time a backcharge situation arises
against another Subcontractor, that the backcharge will be resolved between affected
Subcontractors. If the situation cannot be resolved between Subcontractors first, then all affected
parties shall meet with the Contractor in an effort to determine a mutually acceptable solution.

Extra work tickets will not be honored unless signed by Contractor’s Superintendent or Project
Manager within 24 hours of the date of the performance of the extra work. Please note that the
Superintendent is signing to verify the actual time and material only and in no way approving the
cost of work or that such work is a change in the contract sum,

All Applications for Payments as per Article 4 of the Subcontract Agreement are to be sent to the
Jobsite for processing,

 

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. It is the responsibility of any Subcontractor requiring welding machines to provide generators at

the Subcontractor’s expense, or arrange with the electrician to provide power to the electric
welders.

This Subcontractor is responsible for removing all soil and other debris deposited in streets and/or
other paved areas (garage, walks, ramps, etc.) or into the building by its employee vehicles, lower
tier subcontractor, suppliers, or their vehicles.

All visitors to the jobsite must check in at the Contractor’s office prior to entering the Project
worksite,

All Subcontractors’ personnel will conduct themselves appropriately without disturbing the
adjacent property and public streets, Each Subcontractor is responsible for the conduct of their
personnel.

in the event of a hurricane warning, the Subcontractor will be prepared to act according to the
Contractor’s in place Hurricane Plan and remove any and all material related to its’ scope of work
from the job as deemed necessary by the Contractor.

Subcontractor shall provide drinking water and ice for their employees.

Smoking is prohibited in the building,

All breaks and lunches will be taken in the Contractor’s designated areas.

No pets are permitted on the jobsite.

Workers of the subcontractor are not permitted to enter, walk through, or loiter on or around the
finished phases of the property. Workers are confined to the designated parking and work areas.

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SUPPLEMENT TERMS AND CONDITIONS
Villa Lago at Renaissance Commons - Project No: 04-5581

 

 

B. Safety

1, The Subcontractors work at a minimum shall specifically comply with the Federal Occupational
Safety and Health Act (OSHA) and Contractor’s Safety Manual.

2. Unsafe Conditions, The Subcontractor is not required to work under any unsafe conditions and
shall immediately report such unsafe conditions to the Contractor. Anyone consuming or
possessing intoxicants or narcotics while on duty on the project, shall be immediately removed
from the site. .

3. Unsafe Acts. Employees of the Subcontractor involved in horseplay, fist fights, unsafe acts,
whistling, yelling at the public, or obscene gestures will be required to immediately leave the site.
Tampering with or unauthorized removal of fire extinguishers from assigned locations is
prohibited.

 

4. Reporting Injuries. The Subcontractor shall immediately report every injury including those of a
minor nature within the time frame of Article 5.14, The Subcontractor shall provide a written
report of all accidents, which require onsite or offsite medical assistance.

3. Personal Protective Equipment. The Subcontractor shall provide personal protective equipment
for all its employees. This equipment shall comply with OSHA Act 1926, Subpart E, as
amended. This includes, but is not necessarily limited to the following:

5.1. Hardhats. The Subcontractor’s workers, supervisors, clients and visitors must wear hardhats
at all times. At the discretion of the Contractor, hard hats may be removed after the
installation of finished ceiling materials,

5.2. Eye Protection, The Subcontractor’s workers, supervisors, clients and visitors must wear
safety glasses with side shields (meeting ANSI Z87.1-1989 standards) at ALL times. Jobsite
offices are excluded. Additional forms of eye protection will be required as prescribed by
OSHA standards. If requested, Contractor will provide safety glasses at a cost of $15,00
each to Subcontractor’s employees who arrive without safety glasses, The Subcontractor

‘ agrees to this cost.

5.3, Clothes, The Subcontractor’s workers, supervisors, clients, and visitors must wear clothes
suited to the job. At a minimum, shirts with 6” sleeves, hard-soled shoes (no tennis shoes),
long trousers (no sweat pants), and gloves are required. No dangling or loose clothing or
jewelry should be worn around moving machinery.

3.4. Body Harness, The Subcontractor’s workers, supervisors, clients, and visitors must wear a
full body hamess and lanyard when exposed to falls greater than six feet (including while
working on aerial lifts, Baker, and Perry type scaffolds). Additional requirements per OSHA
Standard 1926 Subpart M will be enforced.

6. Fall Protection, The Subcontractor shall provide a guardrail system, safety net system, or
personal fall arrest system for leading edges of 6’-0” or more above lower levels.

7, Barricades, At no time are Subcontractors to remove guardrails. If the Subcontractor does
remove or damage any safety rail or other safety item for any reason, the Subcontractor shall
notify Contractor prior to removal, Subcontractor shall be responsible to immediately reinstall or
repair the safety rail, or any safety item, in accordance with standards acceptable to Contractor.

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SUPPLEMENT TERMS AND CONDITIONS
Villa Lago at Renaissance Commons - Project No: 04-5581

8. Hazard Communication. The Subcontractor shall furnish MSDS's for all hazardous materials to
the Contractor prior to delivery of the material to the site. Copies will be kept at Contractor’s
jobsite trailer and available for review by all jobsite personnel.

9. Equipment Operation. Employees of Subcontractor shall not operate or ride any trucks, loaders,
backhoes, or other equipment unless specifically authorized to do so.

10, Radios. Employees of Subcontractor shall not play radios except 2-way radios for jobsite
communication.

11, Safety Meetings. The Subcontractor shall conduct weekly safety meetings and provide written
attendance and discussion documentation to the Contractor or attend Contractor’s weekly safety
meetings.

12, Ventilation, The Subcontractor shall provide proper ventilation when using gas-powered
equipment.

13, Competent Person. The Subcontractor shall identify in writing on Company letterhead the
competent persons as required by OSHA Act 1926, and at least one (1) person certified in CPR,
First Aid, and OSHA (10-hour course minimum) with copies of certifications. These competent
persons shall report to Contractor prior to starting work and are required to be onsite at all times
during the performance of the Work.

14. First Aid, The Subcontractor shall provide first aid kits and employee certified in first aid on site
at all times during the performance of the Work.

15. Cranes. Cranes provided by the Subcontractor shall have posted in the cab a complete annual
inspection report, maintenance program per the manufacturer’s specifications and list of hand
signals.

16. GF] Protection. Subcontractor shall provide GFI protection for all cords used by Subcontractor
on the Project site.

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QUALIFICATIONS & ASSUMPTIONS
SUBCONTRACT EXHIBIT E
Villa Lago
Boynton Beach, Florida

June 23, 2005

i. DIVISION 2 — SITE WORK

A. All Site Work shall be provided by the Owner including but not necessarily limited to the
following:

1. Site Demolition: Demolition, removal, and off site disposal of existing above grade site
improvements such as curbs, sidewalks, asphalt paving, brick pavers, concrete paving,
and other such site improvements as indicated in the drawings and as needed to
accommodate the new construction.

2. All Earthwork & Building Pad Preparation including Preparation of the Sub-grade to
12.17 Elevation, Stockpiling and removal of Fill Material around the perimeter of the
building area as needed for use by the Conercte Subcontractor for Backfilling of the
building pad area up to the Bottom of Slab Elevation, Removal of Excess Stockpiled Fill
Material, and Preparation of an Equipment Pathway approximately 20’ wide around the
perimeter of the building area,

3. Temporary and Permanent Road Bed Preparation, Maintenance, Restoration, Removal,
and Final Preparation prior to paving.

4. Site Utilities extending up to 10’ away from the Building including Domestic Water,
Fire Water, Sanitary Sewers, Storm Sewers, Gas Piping, and all Backflow Presenters,
Fite Department Connections, Post Indicator Valves, etc. All City of Boynton Beach or
Palm Beach County water connections shall be by the Owner. The General Contractor
and affected Subcontractors shall extend the Building Utilities to 10° outside of the
building and make the final connections. Oil and sand separators shall be furnished and
installed by the Owner if required.

5. Storm Drainage extending up to 10’ outside of the Building is the responsibility of the
Owner.

6, Curbs, Sidewalks outside the building envelope, Steps, Ramps, & Pavers, except for
Pool Deck Areas and Parking Garage Entrances, which shall be furnished and installed,
as enumerated in the contract documents affixed hereto, by the General Contractor, All
other requirements are by the Owner.

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Renaissance Commons Villa Lago Qualifications & Assumptions

7. Asphalt Paving, Site Striping, Site Wheel Stops, & Site Signage are. by the Owner,

except as enumerated in the allowance schedule or clearly described in the schedule of
values.

8. Landscaping, Irrigation Systems, & Water Supply for such,

9. Hardscape Walls inside the Pool & Fountain Courtyard areas as shown on the Plumbing

Plans. Note: Hardscape Walls are shown but not detailed on the Plumbing Plans and
are not shown on the Architectural Plans and thus are excluded from this Proposal.

10, All Site Lighting is excluded.

11, Site Fountains are excluded, except for Fountains inside the Pool & Courtyard areas

which shall be provided by the General Contractor,

12, Final Utility Connections and Storm Connections to the buildings shall be the

responsibility of the General Contractor and affected Subcontractors.

B. Earth Work:

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1.

Site Preparation: The Building Pad, Road Beds, Sidewalk Beds, and Other Site Areas
will be prepared and certified by the Owner or others prior to the start of our work on
this project. These areas shall be prepared according to the following parameters:

Building Pads: The building pad subgrade shall be prepared by the Owner to an
elevation of 12.17 and graded to a tolerance of plus or minus 1/10" Foot and compacted,
The building pad should be overbuilt by 20° or more around the perimeter of the
buildings to allow a level working surface and equipment pathway. It is assumed that
the existing soils to be excavated for foundations and utilities are suitable and allowable
for use as underslab building fill. The Owner shall Stockpile Suitable Fill Material
around the perimeter of the building area as needed for use by the Concrete
Subcontractor for Backfilling of the building pad area up to the Bottom of Slab
Elevation and also Remove All Excess Stockpiled Fill Material.

Road Beds: Road beds shall be prepared and maintained by the Owner, as needed
during construction for use as temporary roads. Final redressing, grading, and
preparation immediately prior to and placement of asphalt paving shall also be by others.

Other Site Areas: Areas to receive landscaping should be prepared to an elevation
suitable to allow for importing and placement of planting soil, sod, mulch, plantings, etc.
Planting soil, sod, mulch, plantings, etc, are not included.

Excess or Borrowed Material: Excess excavated material shall be stockpiled adjacent to

the building area in a location as mutually agreed with the Owner. Such material shall
be removed, handled, distributed, graded, or otherwise utilized by the Owner or others at

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Renaissance Commons Villa Lago Qualifications & Assumptions

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a later date. Suitable fill material may be borrowed from a remote location on site as
mutually agreed with the Owner.

Backfilling & Final Grading: Backfilling of foundation and utility excavations shall be
performed by the General Contractor or his Subcontractors, Final backfilling and final
grading around the exterior of the buildings and site shall be performed by the Owner's

Earthwork Contractor,

Acceptance of Subgrade: Prior to the start of construction the prepared subgrade shall
be. inspected and randomly surveyed by the General Contractor or his Subcontractors.
Prior to starting work the General Contractor shall notify the Owner of his acceptance of
the subgrade as prepared or of any deficient areas. Deficient areas shall be promptly
corrected by the Earthwork Contractor as requested and mutually agreed. The General
Contractor or Subcontractors shall not unreasonably withhold acceptance of the
subgrade and the Earthwork Contractor shall not unreasonably refuse to correct deficient
areas of the subgrade. Owner’s Surveyor and Geotechnical Engineer shall certify the
building pad as being on grade and suitable for construction. Such certification shall be
provided to the General Contractor.

Coordination: Owner, General Contractor, and Earthwork Contractor shall coordinate
with each other regarding the sitework and subgrade preparation.

All fill materials needed for the project may be obtained from on site, except road
material. All existing soils on site are assumed to be suitable for use as building fill and
backfill material.

Excaveted material from footings and utility trenches shall be used as fill material under
slabs on grade and for backfill material in utility trenches.

Excavation and hauling off site of unsuitable or debris contaminated fill material is not
included.

C. De-Watering:

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1.

All site dewatering is excluded, except for the dewatering allowance enumerated in
Exhibit “C” Schedule of Allowances, based solely upon data received from the Owner
regarding the Soils Report stating the existing water table and typical historic
fluctuations are well below the typical bottom of footing elevation.

A Dewatering System is excluded for the Parking Garage Ramps or Shared Foundations
or for any other areas,

An allowance for unforeseen dewatering, use by the Contractor is included in Exhibit
“C”, Schedule of Allowances, for use by the contractor, at contractor’s sole discretion
for dewatering,

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Renaissance Commons Villa Lago Qualifications & Assumptions

D, Termite Treatment:

1, All Interior Slab on Grade Areas shall receive Soil Pre-Treatment for Termites prior to
placement of the Concrete Slab On Grade and shall include a S Year Limited Warranty
provided by the Manufacturer.

2. Protection for Formosan Termites is excluded..

E, Pavement Markings, Signage, & Precast Wheel Stops:

1. Parking stall striping & pavement markings in the Parking Garages shall be one coat
painted except where specifically indicated in the Plans es Thermoplastic. Site Parking
Areas are specifically excluded.

2. Precast concrete wheel stops are included as shown in the Architectural Plans for the
Parking Garages. Site Parking Areas are specifically excluded,

3. Wheel stops shall be epoxy anchored in lieu of doweled.
F, Temporary Sheet Piling:

1. Temporary sheet piling is specifically excluded.
G. Monument Signs:

1. Monument Sign Walls complete are included at the Club House and at the Southwest
Corer of the Project Site as shown on Plan Sheet SP-3.

2. Monument Sign Lighting is excluded.

3.. An Allowance is included as listed above for Monument Sign Dimensional Brass
Lettering and Graphics.

4, Sign Permits are specifically excluded,

III. TVISION 3 - CONCRETE
A. Structural Concrete:

1, All Concrete Work shall be provided in accordance with the Plans, Specifications, and
Structural Plans except as designated herein.

2. Galvanized Rebar and DCI Concrete Additives at the Balconies, Terraces, & Walkways
or at any other areas are excluded,

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Renaissance Commons Villa Lago Qualifications & Assumptions

3.

All Concrete and Grout shall have a Compressive Strength as shown on the Structural
drawings on sheet 5-3.2 general structural notes, as enumerated herein in the Plans. All
Concrete & Grout Mix Designs shall conform to Standard Mix Designs that are readily
available from Concrete Suppliers in close proximity to the Project.

Precast Concrete for the Parking Garage Structure shall have a 1 Hour Fire Rating, 2
Hour Fire Ratings for the Parking Garage Structure or Precast Tees are specifically
excluded,

Pricing for Reinforcing Steel, Concrete, Block, and Formwork are included based on
current market prices, The steel rebar is included for the project through December 31,
2005, and as long as the Owner will allow the Rebar steel to be purchased immediately
and pay for stored material, of which such stored material will be covered under a
separate insurance policy, there will be no price escalation unless the project is delayed
by Owner. The Concrete and concrete Block in included through June 30, 2006. The
stored material shall have a separate insurance policy. Anticipated escalation of
materials pricing is specifically excluded.

Slab Recesses for Exterior Block Walls are included as %” Deep as shown in the
Architectural Plans. This may not be in compliance with recent Code Amendments and
will require the Architect to obtain a Letter of Approval from the City Building
Department before Coastal can proceed with construction according to this detail,
Coastal does not make any representations as to the acceptability of this detail,

The Structural Engineer’s Rebar & Concrete Allowances are specifically excluded.

Concrete Surface Cross Slopes at Balconies and Walkways shall be no less then 1/8” per
foot, if the project is correctly drawn and dimensioned by the architect in such a manor
to accommodate such slope. However, the 1/4” per foot Cross Slope requirement listed
in the Plans can not be guaranteed and thus it is specifically excluded.

B. Site Concrete:

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4” Thick Standard Concrete Sidewalks are included on the east & west sides of the
paver area at the north Parking Garage Entrance, in the area between the Club House
and the East Building, on the east side of the East Building, and at the connecting
sidewalks leading from the buildings to the main sidewalks adjacent to the road. The
main sidewalks and curbs adjacent to the roads are specifically excluded.

Standard Color grey cement based pavers are included at the north and south Parking
Garage Entrances, Pavers shall be installed using Sand Set Installation over a Lime rock
Base, Standard Non Colored Concrete paver Retainer Bands are included in these areas.

4” Thick Standard Concrete Flatwork is included for the Pool Decks and Walkways at
the Club House and in the Courtyard areas only. Textured Pool Deck Toppings shall be

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applied over these areas in a single color diagonal pattern with a minimum gridline to
gridline dimension of 24” or greater, -

All Other Site Concrete work including but not limited to Curbs, Walks, Ramps, Stairs,
and Pavers is excluded and shall be provided by the Owner.

The GMP includes changing the beams over the sliding glass doors and windows to (4)
#5’s and no hoops as stated in Davis Brothers proposal. If this alternate is not
acceptable, the cost to install the same as required is an additional $12,000.00 plus fee,
insurance and general conditions and shall be added to the GMP. See attached detail # 1
submitted for approval April 2005.

The GMP includes changing the RTB-3 at the pop ups on the roof to a double bond
bean, delete the poured deck. If this alternate is not acceptable, the cost to install the
same as required is an additional $21,300.00 plus fee, insurance and general conditions
and shall be added to the GMP. See attached detail #2 submitted for approval April
2005,

The GMP includes changing the RTB-3 at the stair towers and elevator shafts. Drop
header at the opening. If this alternate is not acceptable, the cost to install the same as
required is an additional $ 3,700.00 plus fee, insurance and general conditions and shall
be added to the GMP. See attached detail # 3/ #3A, submitted for approval April 2005.

The GMP includes changing the parapet cap-1 beam to a single bond beam with (1) #5.
If this alternate is not acceptable, the cost to install the same as required is an additional
$ 3,800.00 plus fee, insurance and general conditions and shall be added to the GMP.
See attached detail #4 submitted for approval April 2005.

The GMP includes deleting the Dura-Wall, which, according to Davis Brothers is not
required by Palm Beach County, Florida. If this alternate is not acceptable, the cost to
install the same as required is an additional $ 20,900.00 plus fee, insurance and general
conditions and shall be added to the GMP.

IV. DIVISION 4- MASONRY

A. Concrete Block Masonry:

1, Reinforced concrete block masonry is included utilizing High Strength CMU as

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indicated in the Plans for floors one, two and three only, All other areas are regular
strength block. If this alternate is not acceptable, the cost to install the same as required
is an additional $ 50,900.00 plus fee, insurance and general conditions and shall be
added to the GMP.

Exposed Block Walls in the Mechanical Rooms, Electrical Rooms, CATV Rooms,
Security Rooms, and Elevator Equipment Rooms, Trash Rooms and Other Service and

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Support areas shall have Mortar Joints Struck Flush, Floated, & Brushed. Tooled J oints,
Stucco, or other Textures or Finish Preparations are excluded in these areas.

Vertical reinforcing bars & grout for CMU walls are included at 48” O. C,

An Allowance is included in Exhibit “C” Schedule of Allowances, for Additional
Grouting beyond what is shown in the Plans per the Architect’s suggestion for areas in
the walls where the Vertical reinforcing bars & grout for CMU walls are included at 48”
0. C.

Block Walls for Pool Equipment Rooms adjacent to the Parking Garage which are
shown but not detailed on the Plumbing Plans are specifically excluded.

Slab Recesses for Exterior Block Walls are included as %” Deep as shown in the
Architectural Plans. This may not be in compliance with recent Code Amendments and
will require the Architect to obtain a Letter of Approval from the City Building
Department before Coastal can proceed with construction according to this detail.
Coastal does not make any representations as to the acceptability of this detail.

B, Architectural Precast Concrete:

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1, An allowance as enumerated in Exhibit “C”, Schedule of Allowances for all

Architectural Precast Concrete.

Precast Concrete Columns are included at the exterior of the Club House at the Main
Entrance and Terrace only.

Precast Concrete Columns, support offand or Trellises are specifically excluded. These
items are not detailed at the Poo! & Fountain Courtyard areas as shown, but were shown
on a background sheet on the plumbing plans,

Precast Concrete for Pools & Fountains are included within the Budget for Pools &
Fountains.

Exterior Bands, Window Sills, and other Details shall be stucco over foam with a
simulated keystone finish, Precast Concrete is excluded in these areas.

Precast Concrete Pier Caps are included at the Monument Sign Walls.

All Precast Concrete Details, Shapes, Colors, and Finishes shall be per the
Manufacturer’s Standards for Simulated Keystone.

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Vv. DIVISIONS - METALS
A. Structural Steel:

1, All Steel Columns shall be shop primed. Galvanized Stee] Columns are specifically
excluded.

B. Railings:

1. Stair, Balcony, & Terrace Railings shall be Aluminum with a Powder Coated or ESP
Painted Finish.

2. Rail style, color and appearance shall be the same as approved on the San Raphael Shop
drawings, Railings shall be core drilled installation.

3. Aluminum Fencing is included at the Monument Entrance Signs and around the Pool
Deck area at the Club House only.

4, Standard 42” H Aluminum Picket Railings are included at the the Pool Courtyard Areas.
C. Parking Garage Barrier Cables:

1. Galvanized Parking Garage Barrier Cables are included at the interior ramp walls only.
D. Pool & Fountain Courtyard Trellises:

1. All Trellises and Supporting Columns which are shown but not detailed in the
Architectural Plans and / or Plumbing Plans are specifically excluded.

E. Miscellaneous Metals:
1, Steel Support Frames for the Vanity Counter Tops in the Pool Restrooms and Club
House Restrooms if needed are considered to be included in the above listed Allowances
for Counter Tops & Cabinets in such areas.

2. Stair Nosing is specifically excluded.

3, Steel Pipe Bollards or Steel Angle Columm Comer Guards are excluded for the Parking
Garages or any other areas.

4. Allowances are included as enumerated in Exhibit “C”, Schedule of Allowances for

Elevator Hoist Beams, Sill Angles, Pit Ladders, Sump Pit Covers, Expansion Joint
Covers, Parapet Flashings, and Miscellaneous Flashings.

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Qualifications & Assumptions

F, Stainless Steel:

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Stainless Steel Flashings, Trims, Caps, Copings, Trash Chutes, Fasteners, Support
Frames, Straps, Accessories, or any other type of Stainless Steel is excluded. Any such
items shall be Galvanized Steel or Aluminum in an Appropriate Gauge or Finish as
determined by the Contractor.

VI. DIVISION 6- CARPENTRY

 

’ A. Rough Carpentry:

1.

Pre Engineered Wood Roof Trusses at 24” O.C, with 5/8” Plywood Roof Sheathing
shall be provided at the Club House only. Wood Roof Trusses shall utilize Standard
Truss Grade Lumber and Standard Plywood Sheathing. Fire Treated or Pressure Treated
Lumber or Plywood for the Roof Trusses and Sheathing are specifically excluded.

Light Gauge Metal Trusses at 48” O.C. with 5/8” Plywood Roof Sheathing as Decking
is included at the Condo Buildings in the mansard roof areas. All other roof sheathing
for these areas is specifically excluded,

Roof Blocking & Cant Strip Details shall be Fire Treated Wood, Fibrous Material, Rigid
Insulation, Other Materials, or Omitted as determined by the Roofing Contractor and
Roof System Manufacturer’s Standard Details. Due to the difference in chemical make
up of fire treated lumber it should be noted 'that screws used to anchor certain items to or
through the fire treated material may need a stainless steel screw application which is
specifically excluded.

Plywood Sub Counter Tops & Wall Reinforcing is included at the Serving Bar Counter
Tops only, Plywood Sub Tops are excluded for the Kitchen & Bathroom Counter Tops.

(1) Row of Wall Blocking in included for the Upper Cabinets and (1) Row is included
for the Base Cabinets. Additional Rows of Wall Blocking for the Cabinets are
specifically excluded.

Tub Skirt Framing is excluded based on the use of Integrally Skirted Tubs, which
matches the San Raphael project.

An Allowance as enumerated in Exhibit “C”, Schedule of Allowances is included for a
Timber Framed Roof Structure at the Club House Gallery Ceilings.

B. Finish Carpentry, Cabinets, & Counters:

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1. Allowances are included as enumerated in Exhibit “C”, Schedule of Allowances for
all Wood Baseboards, Crown Molding, and Interior Decorative Columns described
below, until the vendor obtains his performance and payment bond. At such time, the

allowance shall be removed.
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Renaissance Commons Villa Lago Qualifications & Assumptions

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11.

5” Finger Jointed Paint Grade Wood Baseboards and Crown Molding are included for
all Condos in the areas shown on the Plans, which matches the San Raphael project,

Wood Baseboards are included for the Club House. Crown Molding for the Club
House, Offices, or related areas is specifically excluded.

Finger Jointed Paint Grade Jambs & 3.25” Casing is included for all pre-hung wood
doors, which matches the San Raphael project.

Wood Jambs & Casing are not included for the Bi-Fold Doors which shall have a
drywall wrap jamb condition.

Cabinet & Counter Top Protection Film is included to protect the Kitchen & Bath
Cabinets and Counter Tops in the Condo Units.

Paint Grade Decorative Wood or Synthetic Columns shail be provided at the Condo
Foyer areas as shown in the Enlarged Condo Unit Plans.

The proposal accepted by the Owner from Kitchens of South Florida dated February
22, 2005 includes Protective Film is included as provided by Kitchens of South
Florida, which matches the product installed in the San Raphael project.

Cultured Marble Counter Tops with Integral Sink Bowls are included in the
Secondary Bathrooms in the Type B & Type D Units only.

Interior Window Siils shall be drywall. All reference to marble or ceramic window
sills is specifically excluded and shall be removed from the drawings by the.
Architect.

Plastic Laminate Cabinets or Counter Tops are specifically excluded.

VIL. DIVISION 7~ THERMAL & MOISTURE PROTECTION

A. Waterproofing Systems: Notwithstanding anything contained herein, Contractor agrees that
it has included all details and recommendations which were implemented at San Raphael at
the direction of IBA Consultants, except as listed below:

1.

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Elevator Pits; Fluid Applied Waterproofing shall be provided at the interior walls and
floors of the elevator pits.

All waterproofing and caulking, is included, which matches the San Raphael project,
except as listed below:

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3. Cementitious Waterproofing shall be provided at the Slab to Wall Joint along the
_Exterior Corridors and at the Condo Unit Balconies on all Levels, which matches the
San Raphael project.

4. A one coat cementitious Waterproofing shall be provided at the Condominium Unit
Balconies, which matches the San Raphael project.

5. A one (1) coat cementations as Waterproofing st shall be pe provided at all ¢ exterior ir corridors
and elevator lobbies, shiek ge~thas— Siar butnie—essectedtek
aseguats.

6. Stair Treads & Risers shall be Plain Exposed Concrete. Slab Toppings or Waterproofing
at the Stair Treads & Risers is specifically excluded, which matches the San Raphael

project.

 

7. A Penetrating Acrylic Sealer at the Parking Garage Decks is specifically excluded,
which matches the San Raphael project.

8. Auto Traffic Grade Waterproofing at the Parking Garage Decks is specifically excluded,
which matches the San Raphael project.

9. Mechanical Room Floors shall receive a Penetrating Acrylic Sealer. Waterproofing is
not included for any floor, wall, or curb areas in mechanical rooms, electric rooms, trash
rooms, service rooms, janitor’s closets, or other service & support type areas.

10. Concrete Slab on Grade Areas shall receive 2 6 Mil Visqueen Vapor Barrier under the
Slab. Under-slab Waterproofing at the Slab on Grade Areas is specifically excluded.

11. Waterproofing of the Precast Concrete Walls at the Parking Garages abutting the Condo
Buildings is specifically excluded.

B. Caulking & Joint Sealants:

1. All caulking, is included, which matches the San Raphael project, except as listed
below:

2. 1 Additional Bead of Silicone Caulking shall be provided at the perimeter of the
Windows & Sliding Glass Doors bridging between the Window Frame and the Block
Walls (Beauty bead).
C. Insulation Systems:
1. R-19 Blown Fiberglass Insulation shall be provided in the Mansard Truss areas,

2. 2.5” Kraft Faced Fiberglass Batt Insulation shall be provided at the Exterior Block

Walls.
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3. Foil Backed Gyp Board or Mold Resistant Gypsum Board is specifically excluded.

4. 2.5” Unfaced Fiberglass Sound Batt Insulation is included at both sides of all Condo
Unit Separation Walls.

5. 3.5” Unfaced Fiberglass Sound Batt Insulation is included in all walls surrounding
Bathrooms, HVAC Closets, Mechanical Chases, and Laundry Rooms. Insulation is not
included at the Bedroom Walls, or any other interior walls.

6. 6” Unfaced Fiberglass Sound Batt Insulation is included at the Bathroom & Laundry
Room Soffits only.

7. Sound Reducing Ceiling Hangers are excluded in the Gende-sits-and Club House.

8. 10” Sound Batt Insulation and Acoustic Cork Membrane as shown for the Club House
and Sports Court are specifically excluded.

9. Expanded Polystyrene Rigid Foam Insulation is included at the 2 Hour Block Cavity
Walls at the Parking Garage Expansion Joints,

10, 1° Batt Insulation wrapped around the Trash Chutes is specifically excluded.
D. Roofing Systems & Sheet Metal:

1. All Roofing work shall be provided in accordance with FBC requirements.

2. A 3 Ply Built Up Roof Syste with Type IV Asphalt Bitumen Pitch and a 1 Ply
Modified Bitumen Cap Sheet is included at all Flat Roof areas. Coal Tar Pitch is
excluded. Modified Asphalt Pitch is specifically excluded.

3. 300 PSI Light Weight Insulating Concrete with average R-19 Stepped Thickness
Insulation is included for all Flat Roof Areas, Tapered Roof Insulation is specifically
excluded. The roof drawing detail will be revised by the architect to incorporate the
required slope and drainage sufficient for the use of light weight concrete the
coordination of the placement and elevation of roof seuppers.

4, The Built Up Roof System with Lightweight Concrete is suitable for a Maximum Wind
Uplift Pressure of -75 PSF. It is assumed that this is acceptable and meets all Codes,

>. Built Up Roof areas shall be covered by a 20 Year NDL Manufacturer’s Product
Warranty.

6, Gutters and Downspouts which are detailed but not located on Architectural Plans are

specifically excluded.
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7. All Roof Flashings & Pitch Pans shall be Aluminum, Galvanized Steel, or Lead.
Stainless Steel Roof Flashings & Metals are specifically excluded.

8. PVC Overflow Scuppers are included, Precast scuppers are excluded as shown in the
Architectural Plans.

9. Roof Drain Overflow Piping is specifically excluded.

10, Concrete Tile Roof Systems are included as specified with Direct Screwed Attachment
to the roof deck.

11. Standard Pitch Pans are included at roof penetrations,

12. It is assumed that the Concrete Roof Deck as it is currently designed is capable of
supporting the additional loads imposed by the Lightweight Concrete Roof Insulation
System included in lieu of Tapered Roof Insulation.

13. It is assumed that the Roof Trusses as currently designed are of sufficient height to allow
for variations in Roof Elevation due to the Roof Slope and Lightweight Concrete
without decreasing the Parapet Height to below the Code Required Minimum,

VIII. DIVISION 8— DOORS & WINDOWS

A. Hollow Metal Doors & Frames: Allowances are included as listed above for All Hollow
Metal Doors, Entry Doors, Wood Doors, Frames, Hardware, Trim, & Mitrors as described
below. This is due to the low bid being unable to furnish a payment and performance bond at
the time of this contract, As soon as the bond ts available, the “Word” allowance shall be
removed for this scope of work.

1. All Exterior Hollow Metal Doors and Frames shall be galvanized and shall be Miami
Dade County Approved.

2, Condo Unit Entry Doors shall be fire rated hollow metal raised panel doors in hollow
metal frames.

B. Wood Doors & Frames:

1, Condo Unit interior doors shall be 1-3/8” pre-hung hollow core paint grade raised panel
molded masonite doors with finger jointed paint grade wood frames and 3.25” casing or
smaller as required to fit certain applications. Casing shall be 3.25” finger jointed paint
grade material where sufficient space is available. If sufficient space is not available for

this size of casing then a narrower casing shall be used. Ripping of casing is specifically
excluded,

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2.

Wood Jambs & Casing are not included for the Bifold Doors which shall have a Drywall
Wrap Jamb Condition.

Wood Doors, Frames, and Hardware material for the interior Clubhouse areas are
included per the Door Schedule.

C. Aluminum Windows & Sliding Glass Doors:

1.

7.

10.

11.

Aluminum Windows and Sliding Glass Doors shall be as manufactured by ES Windows
or an approved equal as selected by the Contractor.

All Windows, Sliding Glass Doors, and Storefront shall have an ESP Finish.

Fixed Aluminum Frame Windows are included at the Interior and Exterior of the Club
House areas.

Interior Windows at the Sports Court shall be Standard Impact Glass.

All Operable Windows shall have Screens.

Screens are specifically excluded at the Sliding Glass Doors.

Windows & Sliding Glass Doors shall be designed to meet South Florida Building
Codes. Large missile and small missile impact glazing is included for all exterior
windows and doors as required. The rubber installation seal around the window and
sliding glass door are designed to meet a maximum of 73 mph, per the NOA.

Insulated Glass is not included where shown.

Sill Pans & Head Receptors are, specifically excluded.

Horizontal Sliding Windows shall have Surface Applied Muntins to simulate the
appearance of Single Hung Windows and meet egress requirements. Larger fixed
windows at the Clubhouse area shall be divided into smaller umits filling the same
opening size.

Aluminum Storefront Doors are included for the exterior of the Club House. Panic
Hardware is excluded. Push Pull Hardware is included.

D. Finish Door Hardware:

1.

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An Allowance as enumerated in Exhibit “C”, Schedule of Allowances for All Finish
Door Hardware is included for medium gerade residential hardware for the Condo Units
and medium grade commercial hardware for the common areas.

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E. Mirrors:
1. An Allowance as enumerated in Exhibit “CC”, Schedule of Allowances is included for
Square Edge Frameless Vanity Mirrors for the Condo Unit Bathrooms and Public
Restrooms.

2. Square Edge Frameless Vanity Mirrors are included for the Condo Unit Bathrooms
and Public Restrooms.

3. Wall Mirrors are not included in the Fimess Center or related areas.

4. Wall Mirrors are not included at the Spa or Jacuzzi Tub Surround Walls.

IX. DIVISION 9~— FINISHES
A, General Finishes:

1. Condo Units: Walls shall have a Medium Texture Knock Down Finish. Ceilings shall
have a Light Texture Knock Down Finish. Kitchens and Bathrooms shall have smooth
painted walls.

B. Stucco Details:

1. Exterior Medallions, Bands, Window Sills, and other Details shall be stucco over foam
with an EIFS simulated keystone finish. Precast Concrete is excluded in these areas.

2. Stucco Textures: Light Textured Stucco shall be provided in lieu of Smooth Stucco
throughout any areas-indicated in the Plans as Smooth Stucco.

3. Horizontal Bands: It is assumed that all horizontal bands will be stucco-over-foam
shapes and not pre-cast concrete. Such shapes will have a simulated keystone finish. It
is also assumed that the smaller or finer bands at level 1. ate scored or tooled bands.
Stucco Reveals shall be Tooled Bands.

4. AlLPVC Reveals & Trims are excluded. All Stucco Reveals, corners, bands, details, etc.
shall be tooled in lieu of formed using PVC Trim Pieces.

5. Exterior Window Sills: It is assumed that all exterior window silis will be stucco-over-
foam shapes with a simulated keystone finish and not pre-cast concrete.

6. Balcony Ceilings: We are assuming a light textured stucco finish for the balcony
ceilings and exterior walkway ceilings.

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7.

Parking Garages: Stucco is not included for any Precast at the Parking Garages, interior
or exterior. Skim Coat Stucco is included over Exposed Block Walls at the Parking
Garages,

C. Drywall & Metal Stud Framing Systems;

1,

2.

8.

Moisture Resistant Gypsum Board shall. be provided at all Bathroom walls,
Standard Gypsum Board shall be provided at the Bathroom ceilings.
Attic Draft Stops are specifically excluded.

Foil Backed Gypsum Board, Mold Resistant Gypsum Board, and Tile Backer Board are
specifically excluded.

Metal Stud Spacing shall be 16” On Center in lieu of 24” On Center as listed in the
Plans,

1-5/8” Metal Stud framing is included at both sides of the Unit Separation Walls and at
the Exterior Walls in lieu of 1° x 4” Fire treated, because Pressure: treated is
unacceptable to the City of Boynton Beach and no longer readily available.

Additional Horizontal Pipe Soffits are specifically excluded, unless detailed on the plans
enumerated herein. No additional allowances have been incorporated herein.

Acoustic Ceiling Hangers are excluded, unless shown.

D. Acoustical Ceiling Systems:

1.

Allowances are included as enumerated in Exhibit “C”, Schedule of Allowances, for-
Suspended Acoustical Ceiling Systems in the Club House and in the West Building Pool.
Restrooms. Suspended Acoustical Ceiling Systems are nat included for any other areas,

E. Granite, Marble, & Ceramic Tile:

1,

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The Proposal from Kitchens of South Florida dated February 22, 2005 which includes
Granite Counter Tops for the Kitchens and Marble Counter Tops in the Master
Bathrooms has been approved by the Owner, which matches the San Raphael project
and is incorporated herein. Protective Film is included as provided by Kitchens of South
Florida.

Ceramic Tile Flooring and Wall! Finishes shal! be equal to Yale Crema & Arena as
manufactured by Saloni. All tiles within each Condo Unit shall be the same selection.
Approximately 50% of the Condo Units shall be Yale Crema and 50% Arena, Owner
shall provide the unit Owner’s selection matrix in such time as not to delay the ordering
or installation, which shall be incorporated herein.

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3. Tile Installation shall be Thin Set in all areas except the shower floors which shall be
Mud Set.

4, All floor Soundproofing is an allowance as enumerated in Exhibit “C”, Schedule of
Allowances, and shall be performed by the Contractor.

5. No Ceramic Tile Base shall be provided in the project. Wood Base shall be provided in
all locations shown on the plans and areas where the plans show ceramic tile base.

6. Precast Shower Bases are excluded. Shower Floors shall be 12” x 12” Ceramic Tile.

7. Shower Curbs shall be Adhered Precast Concrete or Fire Treated Wood or Poured in
Place Concrete as determined by the Contractor.

8. Ceramic Tile on the Bathroom Walls surrounding the Showers and Tubs shall extend to
approximately 7’ Above Finish Floor.

9. Ceramic Tile Flooring in the Condo Kitchens shall extend fully under the Refrigerators
only but shall not extend under the Dishwashers or Ranges.

10. An Allowance as enumerated in Exhibit “C”, Schedule of Allowances, is included for
Ceramic Tile Flooring in the Elevators.

11, Ceramic Tile Flooring and Wall Finishes at the Club House and Pool Restrooms are
based on a Material Cost of $2.25 / SF.

12. Ceramic Tile Wall Finishes in the Club House Restrooms and Pool Restrooms shall
extend to a Wainscot Height of approximately 5’ Above Finish Floor. Full Height Tile
is specifically excluded.

13. Interior Window Sills shall be drywall returns. Marble sills are excluded, The Owner
will have the drawings changed to reflect all such modifications.

F, Carpeting:

1. Carpet in the Condo Units shall be either “Boxter Berber” or “Aspen Cut Pile” with a
%2” 6 Lb. Rebond Padding. This Carpet Padding is assumed to fulfill the requirements
for “Acoustic Matting” under Carpet as listed in the Plans. Otherwise, any Special
Acoustic Matting under Carpet is excluded. Approximately 50% of the Condos shall be
in Boxter and 50% in Aspen.

2. Carpet in the Club House shall be provided based on $25.00 / SY for Material, Pad, and

Installation.
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G. Painting:

1. Painting shall be provided in accordance with the Finish Schedules & Notes listed in the
Plaris but subject to the following Qualifications & Assumptions.

2. All Condo Unit Walls & Ceilings shall be painted flat white latex throughout.
Individual Unit Color Selections are specifically excluded.

3. Interior Condo Doors & Trim shall be painted white using a Satin Finish Latex Enamel,
4, Exterior Hollow Metal Doors shall be painted with 2 Coats of Alkyd Enamel.

5. Club House interior areas shall be painted Flat White only. Color Selections are
specifically excluded in these areas.

6. The Interior of Mechanical Rooms, Electrical Rooms, Storage Rooms, CATV Rooms,
etc. shall be Exposed Concrete & Struck Joint CMU. Painting is specifically excluded
in these Areas.

7. Parking Garage Exterior Pre-cast Concrete Panels and Columns only painting is
specifically excluded,

8, Parking Garage interior columns, ceilings, and piping shall not be painted. All interior
painting of sprinkler pipe or other pipe is specifically excluded.

9, All Exposed CMU walls not receiving a stucco or drywall finish are finished with one
prime coat & one finish coat of paint.

X, DIVISION 10 —- SPECIALTIES

A. Aluminum & Glass Shower Enclosures: An allowance as enumerated in Exhibit “C”,
Schedule of Allowances is included for all shower enclosures as described herein, This is due
to the low bid being unable to furnish a payment and performance bond at the time of this
contract. As soon as the bond is available, the “Word” allowance shall be removed for this
scope of work.

1. Standard Clear Finish Aluminum Framed Units 70” H with 4%” Clear Tempered are
included.

B. Toilet & Bath Accessories: An allowance is included as listed above for all Toilet and Bath
Accessories as described herein. This is due to the low bid being unable to furnish a payment

and performance bond at the time of this contract. As soon as the bond is available, the
“Word” allowance shall be removed for this scope of work.

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1. Condo Unit Bath Accessories include Towel Bars, Toilet Paper Holders, and Mirrored
Medicine Cabinets.

2. Public Restroom Accessories include Toilet Paper Dispensers, Paper Towel Dispensers,
Waste Receptacles, Grab Bars, Liquid Soap Dispensers, Robe Hooks, and Napkin
Dispensers / Disposals.

C. Wire Closet Shelving: An allowance, as enumerated in Exhibit “C”, Schedule of Allowances
is included for all closet wire shelving as described herein. This is due to the low bid being
unable to furnish a payment and performance bond at the time of this contract. As soon as the
bond is available, the “Word” allowance shall be removed for this scope of work.

1. Wire Closet Shelving is included in the Condo Units as shown in the plans.
D. Interior & Exterior Signage Systems:

1, An Allowance, as enumerated in Exhibit “C”, Schedule of Allowances, is included for
all Interior and Exterior Signage including but not limited to Code Required Signage,
Building Signage, and any other types of Signage that may be required or needed for the
project.

2. Monument Signage is included as shown in the Plans. An Allowance is included as

enumerated in Exhibit “C”, Schedule of Allowances for Monument Sign Dimensional
Brass Letters and Graphics,

3. Temporary Signage for construction is included in General Conditions separate from the
above listed Signage Allowance. —

E. Unitized Mail Box Systems: An allowance as enumerated in Exhibit “C”, Schedule of
Allowances is included for all mail box systems as described herein. This is due to the low
bid being unable to furnish a payment and performance bond at the time of this contract, As
soon as the bond is available, the “Word” allowance shall be removed for this scope of work.

1. An Allowance as enumerated in Exhibit “C”, Schedule of Allowances is included for
Unitized Mail Box Systems in the Club House to serve the Condo Units. Mail Boxes
are not shown in the Condo Buildings and thus are excluded in this location.

2, Any other Mail Boxes or Postal Specialties are e specifically excluded.

F, Canvas Awning Systems:

1. Canvas Awnings are not shown on the Plans or Building Elevations and thus are
excluded, Awnings above the Parking Garage Gates are specifically excluded.

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G. Fire Extinguishers & Cabinets:
1, Fire extinguishers & Cabinets are included in accordance with Code Requirements only.
H. Tenant Storage Lockers:
1. Tenant Storage Lockers are specifically excluded,
I. Room Safes:
1, Room Safes are specifically excluded.
J. Hurricane Shutters:
1. Hurricane Shutters are excluded at the Condo Buildings and the Club House. All

Exterior Windows, Sliding Glass Doors, and Storefront Doors shall have Impact
Resistant Glass.

XI DIVISION 11 - EQUIPMENT
A. Residential Appliances:

1. An Allowance, as enumerated in Exhibit “C”, Schedule of Allowances, is included for
the Residential Appliances, as listed in the plans enumerated herein, which match, or
shall be equal to those furnished in the San Raphael project.

B. Building Maintenance Davit Anchor Systems:
1, Provisions for a Building Maintenance Davit Anchor System are specifically excluded.

C. Fitness Equipment:

1, Fitness Equipment shall be provided and installed by the Owner: and thus it is
specifically excluded,

D, Parking Control Equipment:

i, An Allowance, as enumerated in Exhibit “C”, Schedule of Allowances, is included for
Parking Control Gates & Tele Entry Systems.

2. Electric power supply connections and empty conduits for controls are included for the
Parking Garage Gates,

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XII DIVISION 12 —- FURNISHINGS
A. Condo Unit & Club House Area Furnishings, Fixtures, and Equipment:

1.

Fumishings, Fixtures, and Equipment for the Condo Units and Clubhouse areas are
specifically excluded.

Recessed entry mats are specifically excluded.

Window treatments are specifically excluded.

XI. = DIVISION 13 — SPECIAL CONSTRUCTION

A. Pools, Spas, & Fountains:

1.

2.

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Complete Pools, Spas, & Fountains are included based the Proposals from LaGasse Pool
Construction Company dated March 1, 2005 and March 2, 2005 including their
interpretation of the Plans. In the case of any discrepancy between the Plans and
LaGasse’s Proposal the Proposal from LaGasse shall supercede.

The Building Pad Sub-grade in the Pool Courtyard area shal! be cut and Prepared to
elevation 12.17.

Pools are included at the Southeast & Southwest Courtyards and at the Club House as
shown in the Plans except the shape of the pools will need to be adjusted to meet Health
Department Requirements.

Pools are excluded at the Northeast & Northwest Courtyards.

A Spa / Hot Tub is included at the Southeast Courtyard.

Gas Fired Pool Heaters are included.

Allowances are specifically excluded for Underground LP Gas Storage Tanks, An
allowance as.enumerated in Exhibit “C”, Schedule of Allowances, is included by Don
Roll Plumbing for natural Gas Piping from the 10” outside the building to the Pool
Heaters,

Fountains are included at the Northeast and Northwest Courtyards.

4” Thick Concrete Pool Decks and Walkways are included with a Spray on Pool Deck
Topping.

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B, Fire Rescue Air Systems:

1.

An Allowance, as enumerated in Exhibit “C”, Schedule of Allowances, is included e for
All Fire Rescue Air Systems and All Related Items, Permits, Supporting or Surrounding
Construction, Electrical Connections, Controls, Plumbing Connections, Underground
Work, Excavation & Backfilling, Accessories, Etc. This Allowance is based on the
Proposal from Rescue Air Systems, Inc. dated January 14, 2005 in the amounts of $
136,000.00 and $ 176,500.00 with adjustments added for bonds, taxes, and any
miscellaneous work or services. The allowance as listed above is assumed to cover
everything related to the Fire Rescue Air Systems, It shall be noted that this vendor does
not hold a valid Florida Contractor license that will allow the firm to perform this work.
Therefore, it is specifically agreed that if this vendor does not comply with Coastal’s
policy regarding: contract agreement, payment and performance bonds, insurance
requirements, Florida licensing, Safety requirements and overall performance criteria,
the Owner shall assume alt responsibility for the operability of the system and all cost
associated thereof.

XIV. DIVISION 14-— CONVEYING SYSTEMS
A. Elevator Systems:

1.

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An Allowance, as enumerated in Exhibit “C”, Schedule of Allowances, is included for
(6) Kone Eco system Elevators Systems for the East & West Buildings based on the
final negotiated price with Kone in the amount of $ 403,000.00, based upon the scope of
work, features, speed, details, terms and conditions as outlined in the Kone proposal.
Note: Elevator Design Issues remain to be resolved and thus the Elevator Systems are
being inciuded as an Allowances until such time as these issues are resolved.

Automatic Battery Lowering is included. Currently the Building Design does not show
an Emergency Electric Generator System and thus any such System is excluded.

Elevator Capacity & Speed is 3,500 Lbs. @ 150 FPM.
Elevator Doors & Frames shall have a Stainless Steel finish on all levels.

Manufacturer’s Standard Elevator Cab Front Wall Finishes are included as shown in the
elevator manufacturers literature.

Manufacturer’s Standard Elevator Cab Side Wall, Rear Wall, & Ceiling Finishes are
included.

An Allowance, as enumerated in Exhibit “C”, Schedule of Allowances, is included for
Ceramic Tile Flooring in the Elevators.

Allowances for Upgraded Elevator Cab Finishes are specifically excluded.

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B, Trash Chute Systems:

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5.

Trash Chute Systems shall include 24” diameter 16 gauge aluminized steel chute tubes
with bottom hinged 18” x 18” fire rated stainless steel intake doors, hotizontal rolling
discharge doors, full diameter vents, caps, pitched flashings, wash down spray heads,
top sprinkler head, alternate level sprinkler heads, sanitizing units with 15” x 15” access
doors, rubber baffles, sound coating, firestop plates, and isolator pads.

Trash Chute Door Interlock Systems are Included,

Trash Compactors, Bins, & Sorters are specifically excluded.

Stainless Steel Trash Chute Components are excluded except for the Intake Doors as
listed above. Any such components shall be Steel, Galvanized Steel, Aluminized Steel,

or Aluminum as determined by the Contractor.

1” Batt Insulation wrapped around the Trash Chutes is specifically excluded.

XV. DIVISION 15— MECHANICAL SYSTEMS

 

A. Fire Protection Systems:

I,

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Fire Protection Systems shall be provided in accordance with the Plans and
Specifications contained therein and also as allowed by local Building Codes as
designed by Polhemius Fire Protection, whom shall become the engineer of record for
the Fire Sprinkler System.

A 730 GPM Diesel Fire Pump System is included with an Exhaust System extending to
the Roof Level.

Water Tanks or other additional water sources are specifically excluded.

The existing water supply flow and pressures are assumed to be adequate for proper
operation of the Fire Sprinkler Systems as it is currently designed.

Black Iron Steel Sprinkler Piping and Fittings or CPVC, as applicable, shall be used in
the Parking Garage Areas, CPVC Piping shall be used in the Condo Units as allowed by
Building Codes.

Standard Coverage Heads with a significantly larger Head Count in lieu of Extended
Coverage Heads in the Parking Garage. The Plans show Extended Coverage Heads in
these areas, However, anticipated increases in the Depth of the Structural Pre-cast
Concrete Tees will require the use of Standard Coverage Heads along with an increase
in the Head Count and thus Standard Coverage Heads are included at the Parking

Garage.
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7.

9.

Provisions for Fire Protection Systems are included for the Roof Truss Attic areas at the
Condo Building Mansard Trusses and Club House Roof Trusses.:

Sprinklers are excluded for Balconies, Corridors, Overhangs, or any other areas not
defined in the Plans as being sprinkler protected:

Provisions are included for Additional Standpipes beyond what is shown in the Plans.

10. Roof Manifolds are specifically excluded.

11. Sprinkler Piping, Fittings, Valves, & other components shall have a Standard Factory

Mill Finish. Corrosion Resistant Finishes are excluded.

12. Painting or Color Coding of Sprinkler Piping is specifically excluded.

13. Anti Sway Bracing is specifically excluded.

14. Fire Hoses & Hose Racks are specifically excluded. Fire Hose Valve Cabinets with

Recessed Painted Frames are Included as shown.

15. Fire Main Piping & Hydrants Shown on Plan Sheet SP 1.1 is excluded. This work shall

be provided by the Owner.

B. Plumbing Systems:

I.

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Plumbing Systems shall be provided in accordance with the Plans and Specifications
contained therein and also as allowed by local Building Codes.

Condo Unit Plumbing Fixtures, Club House Plumbing Fixtures, and Pool Restroom
Plumbing Fixtures are included as the same as the fixtures at The San Raphael Project.

Water supply and drain lines are included for 3 Pools, 1 Spa and 2 Fountains.

Pool Deck Drains, Planter Drains, & Courtyard area storm drainage is included per
Plans.

Domestic Water Piping shall be CPVC with Solvent Weld Fittings.

Sanitary Sewer Piping shall be Un-Insulated PVC DWV & Schedule 40 Foam Core
above and below grade. Insulation shall be provided around all sanitary piping located
above the Bathroom Soffits.

Roof Storm Sewer Piping shall be Un-Insulated PVC DWV & Schedule 40 Foam Core.

Condensate Risers shall be Insulated PVC.

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9, An Allowance is included as listed above for the gas piping for the Pool Heaters.

10, Water Meters and Backflow Preventers are specifically excluded.

11. 65 Gallon Water Heaters are included. The Owner guarantees the water heater closets as
drawn by the architect in the contract documents have been coordinated and are large
enough to accommodate this size of water heater. Any cost associated with larger closets
in order to install the larger heater will be at the expense of the Owner.

12. Individual Condo Unit Shut-Off Valves with Access Panels will be installed in the
Water Heater Closets.

13. A Wash Down Water Riser is included for each Trash Chute.

14, Underground Sanitary, Storm, and HVAC Condensate Trunk Lines may be relocated
away from foundations and pads and installed according to an alternate layout as
needed.

15. Under Slab Pipe Hangers are specifically excluded.

C. HVAC Systems:

1. HVAC Systems shall be provided in accordance with the Plans and Specifications
contained therein and also as allowed by local Building Codes.

2. HVAC Equipment shall be Carrier Units of equal or greater quality and capacity then
the Rheem Units listed in the HVAC Equipment Schedule.

3. 1 change of air filters is included.

4. Air Conditioning Ductwork shall be fiberglass.

5. Exhaust and outside air ducts shall be metal.

6. Trash Chute Exhaust Fans are included as enumerated in the contract documents only.
7. Dryer Exhaust Booster Fans are specifically excluded,

8. Secondary drain pans are specifically excluded.

9, Range Hoods are assumed to be Re-Circulating Non Ducted Type. Ductwork for Range
Hoods is specifically excluded.

10. Coastal Corrosion Protection is excluded for HVAC Condenser Unit Coils and / or

Condenser Unit Cabinets.
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- Renaissance Commons Villa Lago Qualifications & Assumptions

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CATV Pre-Wiring is included within each Condo Unit including Standard Blank Plate

‘Trim and Terminations. Incoming CATV Service Conduits shall be stubbed out to 5’

outside of the buildings. Empty CATV Home Run Conduits with Pull Strings are
included from each Condo Unit and extending to the CATV Closet Backboard. Home
Run CATV Wiring is included as enumerated in the contract documents only.

Telephone / CATV Smart Panels are included, as enumerated in the contract documents
only.

Empty Conduits from the CATV Closet to the roof are included, as enumerated in the
contract documents only.

FPL Transformers are assumed to be located within 15” of the outside of the buildings at
the nearest exterior wall adjacent to the roadway and at a point that is as close as
possible to the Electric Rooms. All Transformer Feeder Conductors shall be Aluminum.

Power Cords for Appliances are assumed to be provided and installed as part of the
Appliance Allowance.

Junction Boxes and Connections for Cook Tops and Wall Ovens are included, as
enumerated in the contract documents only..

HVAC AHU’s are assumed to have Integral Disconnect Switches,
Single Station Smoke Detectors are included within the Condo Units.

Junction Boxes for Paddle Fans and Switches are included. Paddle Fans and Installation
of such are specifically excluded.

Wiring, Conduits, and other provisions for a Low Voltage Water Meter System are
specifically excluded.

Power supply and connections are included for (3) Pool Equipment Packages, (1) Spa
Equipment Package, and (2) Fountain Equipment Packages in the Courtyard areas and at
the Club House.

Wiring for (1) Trash Compactors is included if shown on the plans dated 1/12/05.

Wiring or Conduits at the Condo Unit Entry Doors for a Building Entrance Control
System or Card Key System are specifically excluded.

B. Lighting Fixtures:

1.

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Light Fixtures matching the project at San Raphael are included for all Lighting Fixtures
including but not limited to Condo Units, Common Areas, Club House Areas, Parking

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Renaissance Commons Villa Lago Qualifications & Assumptions

3.

Garages and Site Fixtures attached to the building around the building perimeters, if
shown on the plans enumerated herein,

Light fixtures for the pool and courtyard area and site lighting poles and fixtures around
the building perimeters, not detailed or shown on the planes enumerated herein, are
specifically excluded.

Installation, wiring, and connections for Lighting Fixtures are included per the plans.

C. Building Security Systems:

1.

An Allowance, as enumerated in Exhibit “C”, Schedule of Allowances, is included for
Security CCTV and Clubhouse Access Control Systems.

Security System Pre-Wiring inside the Condo Units is included. Pre-Wiring shall
include “Free Wiring” (Conduit Excluded) for the Windows, Sliding Glass Doors, &
Entry Doors on Level | and Sliding Glass Doors & Entry Doors on Levels 2, 3, 4,5 & 6.
Equipment, Devices and Terminations are specifically excluded.

AC Power and Empty Control Conduits with Pull Strings are included for (2) Parkirig
Gates at the Garage Entrances.

Control Wiring for Gates at Parking Garages shall be part of the Security and Gate
Allowances.

Empty Conduits and Junction Boxes for Security at the Parking Garages are included as
shown in the Plans.

D. Site Lighting:

1,

Site Lighting Poles, Bases, Fixtures and Installation are specifically excluded. All site
lighting shall be installed by the Owner.

E. Emergency Electric Generator Systems:

1, Currently the Building Design does not show an Emergency Electric Generator System

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and thus any such System is specifically excluded.

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EXHIBIT “G”
ATTACHMENT NO. 1 re: INSURANCE ADDENDUM
(June 22, 2005/ Sec.3)
Villa Lago at Renaissance Commons ~ Project No: 04-5581

 

3. Subcontractor Insurance Coverages Required. The Contractor shall require its
subcontractors to procure and maintain during the progress of their portion of the Work

the following types and minimum amounts of insurance. This insurance shall provide
coverage at least in the minimum limits as follows:

a: Insurance Coverages

Worker’s Compensation Insurance Certificate — Florida Statutory limits under all
circumstances; and

Commercial Automobile Liability - $500,000 Combined Single Limit; and

Commerical Liability - $1,000,000 per occurrence, $2,000,000 ageregate amount,
$2,000,000 for products and completed operations; and

Umbrella Excess Liability - $2,000,000 per occurrence, $2,000,000 aggregate: and

Subcontractor’s Commercial General Liability, Comprehensive Automobile Liability,
and Umbrella/Excess Liability Policies — shall be endorsed to add Contractor and Owner
as additional insured with respect with respect to the performance of Subcontractor’s
operations under the Subcontract Agreement and the Contract Documents.

b. Certificates of Insurance

The Additional Insureds shall be as follows: RCR Holdings 0, LLC;
Compson Associates, Inc,, Renaissance Commons Realty, Inc., Compson Associates of
Boynton, LLC, Compson Associates of Boynton I, LLC, and the owners, officers,
managers, members, affiliates, and employees of the companies listed above.

c. Cancellation, The certificate of insurance shall provide as follows: “The coverages
afforded shall not be cancelled or materially changed until after at least thirty (30) days
written notice, by certified mail, retum receipt requested, has been given to certificate
holder.” .

 

d. Failure to Maintain Insurance, If a subcontractor fails to procure and maintain
insurance in the minimums set forth above. Contractor may procure and maintain
insurance cn behalf of the subcontractor. If Contractor fails to procure and maintain
insurance in the minimums set forth above on behalf of a subcontractor. Developer has
the option to (i) cancel any contract that Contractor has with Developer’ (ii) have the
fight, but not the obligation, to procure and maintain such insurance for and in the name
of the subcontractor and the Contractor shall pay the cost of the insurance, and (iii)
pursue any other legal remedy available to Developer. These options are cumulative.

e. Insurance Required for Access to Jobsite. Developer has the right, but not the
obligation, to refuse entry to the jobsite of employees of any subcontractor that has not
complied with the Insurance requirements.

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EXHIBIT “H”

COASTAL CONDOMINIUMS

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SITE SAFETY
AND
HEALTH PLAN

VILLA LAGO CONDOMINIUM

at

Renaissance Commons

Boynton Beach, Florida

Submitted by: Coastal Condominiums

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March 28, 2005 Page 1 of 32
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INTRODUCTION

This Site Safety and Health Plan for Coastal Condominiums (Coastal), has been established, and the safety
policies and regulations contained herein have been adopted in order to:

1, Minimize, with intent to eliminate, personal injury, property damage and loss of productive
time.

2. Minimize all direct and indirect accident costs,

3, Increase employee skills, morale, and efficiency,

4, Provide for the safety of the public and the protection of employees and adjacent property.
Each Subcontractor shail conform to the guidelines and procedures of this Site Safety Plan and all applicable
Federal, State, or Local Safety Codes or Standards. In the event ofa discrepancy between any of the
aforementioned requirements, the most stringent shall be enforced.

Each Subcontractor is responsible for the Safety of his own employees.

Each Subcontractor selected to work on COASTAL sites must have, maintain and enforce their own Safety
Programs in compliance with current OSHA Standards and with this Site Safety Plan.

Subcontractor’s Supervisors who are unable or unwilling to secure personnel performance in compliance
with the contractual obligations of safety shall not be acceptable as Supervisors and shall be removed from
the project.

COASTAL shall have the responsibility to monitor all Subcontractors’ safety compliance by the contents of
the Site Safety Plan.

COASTAL shall have the responsibility and authority to order immediate cessation and correction of any
hazards caused by a non-compliant Subcontractor, and each Subcontractor shall have the same responsibility
and authority for its lower tier Subcontractors under its control.

Each Subcontractor shall provide COASTAL with the following documents prior to mobilizing on the site:

Completed Emergency/Contact Personnel form

Written Safety Program —

Written Subsiance Program

Written Hazard Communication Program and MAINTAINED appropriate Material Safety Data
Sheets (MSDS)

Updated MSDS's shali be provided to COASTAL.
Written Site Specific Fall Protection Plan.
Site-Specific Steel Erection Plan (this applies to Steel Erectors only)

SUBCONTRACTOR SAFETY PROGRAM

 

Prior to commencing work at the site, each Subcontractor shall submit a copy of their Company’s Safety
Program and Site Specific Safety Plan to COASTAL. Safety Policies and Procedures pertaining to their
scope of work shall be included at a minimum. The name of the on-site Safety Representative, on-site
“Competent Person” and Corporate Individual responsible for the implementation and enforcement of the

January 10, 2003 Page 4 of 32 Initial B .
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Subcontractor Safety Program shall be included. The Emergency/Contact Personnel Form shall be
provided to COASTAL prior to the commencement of work operations.

Subcontractor’s Supervisors who are unable or unwilling to secure personnel performance in compliance
with the contractual obligations of safety shall not be acceptable as Supervisors and shall be removed from
the project by COASTAL.

PROJECT RULES WHICH EXCEED OSHA MINIMUM REQUIREMENTS

OSHA regulations are a minimum standard. Each Subcontractor shall comply with any federal, state, and
local safety requirements. The most stringent safety rules/reguiations shall be followed and, in some cases,
the Site Safety requirements are the most stringent.

1. Fall prevention and/or protection is required for all work activities at and above 6 feet!

2. Hard hats and safety glasses with side shields are required at all times.

3. Scaffold Inspection/Tagging.

4. Personal fall arrest / restraint systems shall be utilized when occupying any type of aerial lift
(including scissors lifts). See also “Fall Protection” and/or “Aerial Work Platforms.”

5. No Employee shall be permitted to ride on mobile scaffolds.

6. Fines will be issued for non-compliance of Safety Rules (See “Disciplinary Action
Procedures”).

SECURITY

NO PERSONNEL SHALL BE PERMITTED ON THE PROJECT AFTER HOURS UNLESS
AUTHORIZED BY COASTAL SUPERVISION.

Visitors
Any person not directly involved with the on-site construction of this Project, shall not be permitted to enter
the site without first notifying the COASTAL site office, signing a Visitor Waiver and Release Form.

All visitors are required to wear appropriate personal protective equipment (PPE) while in construction areas
(truck drivers included). At a minimum, all visitors are required to wear: Hard hats, safety glasses with side
shields, proper foot protection, etc.

Material/Deliveries
Deliveries shall only be permitted during work hours designated by COASTAL.

Upon leaving the cab of their truck, all delivery truck drivers are required to wear appropriate Personal
Protective Equipment (PPE) while in construction areas. At a minimum, truck drivers are required to wear:

Hard hats, safety glasses with side shields, proper foot protection, etc, Each Subcontractor is required to
enforce this policy.

Jannary 10, 2003 Page 5 of 32 Initial :
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Coastal Condominiums

Generai Safety Requirements
(Exhibit 1)

The safe and efficient completion of this Project requires a spirit of teamwork and. cooperation from all
workers. Also required are uniform standards of expected behavior. Subcontractor’s employees who fail to
comply with the project rules shall not be acceptable and shall be removed from site. Such employees who
are removed from the project for noncompliance with the project safety rules shall not be eligible for re-
employment on the project.

1. Willful and/or repeated violations of safety rules or safe work practices shall not be tolerated,

2. All injuries, no matter how slight, must be reported to the COASTAL Supervisor immediately,

3. Submitting false or fraudulent information regarding an accident/injury shall not be permitted.

4, Fighting, gambling, horseplay, and other misconduct are not permitted, nor shall threatening another
worker be tolerated.
5. This Site Safety Plan prohibits the manufacture, possession, sale or use of illegal substances and

alcohol in the workplace. COASTAL reserves the right to bar from site any employee convicted of a
criminal drug offense in the workplace, All Employees must abide by the provisions of the Federal

Drug-Free Workplace Act of 1988,

6. Sexual Harassment shal] not be tolerated.

7. Keep clear of all equipment. Avoid pinch points and blind areas. Be alert to avoid swinging or
suspended loads.

8, Be alert for and heed all warning / traffic signs at all times,

9, Approved hard hats and safety glasses with side shields must be worn while in construction and
other designated areas. At a minimum, sturdy work shoes or boots are required for foot protection.

10. Shirts and long pants are required. T-shirts with a minimum of 3-inch sleeves are required.

11 Do not use compressed air to "dust-off" clothes or hair. Cleaning of concrete or concrete forms with

compressed air requires the usage of goggles, face shield and protection for surrounding personnel.
12, There will be no unauthorized use or possession of.tools, equipment, or materials owned by others.

13, Damaged/defective tools and equipment shall be removed from service and tagged “Unsafe- Do Not
Use” or rendered inoperable.

14, Whenever anyone is required to work on or in the proximity of electrical or mechanical equipment

Or circuitry, appropriate tagging shall be placed to identify all controls deactivating the circuit, and
the circuit shall be locked out.

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Any worker exposed to a fall of 6° or greater shall be properly protected by means of guardrails,

covers, safety nets or personal fall arrest systems.

16, Do not use makeshift or “jury-rigged" tools or equipment to perform your job.

17, All fire protection and emergency equipment shall be plainly marked and must be kept free of
obstructions for emergency use, Tampering with or unauthorized removal of fire extinguishers from
assigned locations shall result in disciplinary action.

18, Unless specifically authorized, firearms and explosives are prohibited within the construction area,

19. Report all unsafe practices and conditions to your Supervisor at once, All site personnel are
encouraged to approach other personnel with regard to safety infractions.

20. Only authorized and properly trained personnel are permitted to operate equipment, vehicles, valves,
electrical switches and similar machinery.

21. Do not transport passengers in the rear of a dump truck, on tractors, forklifts, or similar equipment.
Personnel riding in the bed of pick up trucks must be seated on the floor of the truck with their entire
body inside the truck bed.

22. Do not smoke in areas marked "No Smoking" or near flammable or combustible materials.

23, Store and use gas cylinders in a secured, upright position. Oxygen and acetylene are to be stored 20'
apart or separated by a firewall.

24, Maintam good housekeeping at all times. Keep waste, debris, and rubbish cleaned up. Place all
lunch papers, cups, cans and other litter in trash receptacles. Discard and/or store all oily rags, waste
and similar combustible materials in metal containers.

25, Employees shall not ride loads, slings, the ball, crane hook or other material hoisting equipment.

26. Keep all machinery guards, guardrails and other protective devices in place.

27. Be alert to conditions, work processes, other workers and equipment in order to avoid possible
dangers.

28. Ground-fault circuit interrupters (GFCT's) shall be used on all wiring systems- (including generators
and welders).

29, Personal protective equipment (PPE) shall be worn in all operations where there is an exposure to
hazardous conditions or where the use of such equipment will reduce the hazard.

30, Misuse or willful destruction of property and/or equipment shall not be tolerated,

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HAZARD COMMUNICATION ("RIGHT-TO-KN OW”) PROGRAM

Each Subcontractor shall provide copies of MSDS8’s (in an organized binder) for products/chemicals
anticipated to be used at COASTAL sites to the COASTAL Supervisor. A copy of the Subcontractors
supplied MSDS’s shal] be retained in the field office and updated by the Subcontractor as necessary for the
duration of the Project. Each Subcontractor shall be required to keep a set in the job trailer (for the use of
their employees).

Each Subcontractor shall be responsible for training his/her own employees in Hazard Communication.

CONSTRUCTION SAFETY EVALUATIONS

 

COASTAL Supervision shall make a daily tour of the jobsite to monitor work operations and take corrective
action as necessary, A formal weekly tour shall be performed and documented on the COASTAL Safety
Inspection Checklist form (available upon request). The dates of the Formal and Documented Inspections
shall be transferred to the COASTAL Monthly Safety Activity Report and forwarded to COASTAL Safety
Director by the 4" of each month.

The results of the Evaluation shall be reviewed with the appropriate Subcontractor and corrective action
taken, Ways to prevent recurrence shall be implemented,

SAFETY REVIEW/MEETINGS

Pre-Project Safety Meeting —

Each Subcontractor's Foreman shall meet with the COASTAL Project Superintendent prior to the
commencement of work. The safe way of performing the work and the nature of the hazards should be
featured, The meeting shall be documented on the COASTAL Pre-Project Safety Checklist.

Weekly Job Meetings

Weekly scheduled Job Meetings shall be held and coordinated by the COASTAL Supervisor. Each
Subcontractor working on this project shall delegate one representative to attend this meeting that will cover
jobsite issues. Safety concerns along with other jobsite issues shall be addressed and ways to
eliminate/minimize the hazards/exposure shall be discussed. Appropriate scheduling may resolve the safety
items in question, This representative shall have the authority and responsibility to make decisions and
corrections and maintain all safety requirements for the Subcontractor.

The COASTAL Supervisor may require special Safety Meetings. Each Subcontractor’s Representative shall
be required to attend.

Weekly Safety Meetings
Each Subcontractor’s representative shall conduct a QUALITY Weekly Safety Meeting.
Attendance is mandatory.

Accidents and near misses during the previous week shall be reviewed, discussed, and action to prevent
recurrence discussed, The safe way of performing the work and the nature of the hazards should be featured.
The meeting should be open to general discussion. Ideas brought up by workers should, if practical, be put
into practice. If not practical, reasons should be given as to why the idea cannot be used.

Each meeting shall be documented stating: Topic, date, content, meeting presenter and attendees. The
Subcontractor shall retain training documentation and a copy forwarded to the COASTAL Supervisor.

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SUBSTANCE ABUSE PREVENTION PROGRAM

 

This Site Safety Plan prohibits the manufacture, possession, sale or workers under the influence of illegal
substances and alcohol in the workplace. COASTAL reserves the right to bar from site any employee
convicted of a criminal drug offense in the workplace. All employees must abide by the provisions of the
Federal Drug-Free Workplace Act of 1988. .

Any worker receiving medical attention due to a work related injury shall be required to submit to a drug
screen,

Any worker involved in an incident where property damage is in excess of $100.00 shall be required to
submit to a drug screen,

If there is a “reasonable suspicion” of illegal drug use in the workplace, a worker may be required to submit
to a drug screen.

Any worker who tests positive for illegal drugs and/or alcohol shall not be permitted to work on any
COASTAL project.

Any worker refusing to submit to a drug screen shall not be permitted to work on any COASTAL site.

FIRST AID AND EMERGENCY PROCEDURES/ INCIDENT REPORTING, INVESTIGATION &
RECORDKEEPING

All injuries, no matter how slight, shall be reported to the COASTAL Superintendent.
Emergency phone numbers the job site address shall be posted at every phone.

Each Subcontractor shall be responsible for providing and maintaining appropriate first aid supplies. Only
individuals currently certified by the American Red Cross (or equivalent) should administer first aid, The
names of these individuals shall be submitted to the COASTAL Supervisor. Each Subcontractor shall have
at least one certified individual.

Each Subcontractor shall be responsible for providing transportation for any employee requiring outside
medical attention.

Each Subcontractor shall be responsible for providing First Aid Attention to “his” workers.

At times, accidents “almost” happen. A matter of inches closer or seconds sooner would have resulted in
injury or property loss. Any incident resulting in a "Near-miss" shall be reported to the COASTAL
Supervisor prior to the end of the work shift. Any incident resulting in a serious injury or property damage
shall be reported IMMEDIATELY!

An incident resulting in Property/Vehicle Damage will be reported top the COASTAL Supervisor
IMMEDIATELY. The COASTAL Incident Report Form shall be completed by the Subcontractor and
forwarded to the COASTAL Supervisor within 24 hours.

Any incident resulting in off site medical treatment, property damage or “Near Miss” shail be investigated
within 24 hours, The Subcontractor shall coordinate the investigation using the COASTAL Incident Report

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Form within 24 hours. Copies shall be provided to the COASTAL Supervisor, Corrective action shall be
taken to prevent recurrence.

Each Subcontractor and lower #ier subcontractors are required to complete the Subcontractor Man Hour /

Accident Report Form (COASTAL-01). The completed form shall be provided to the COASTAL
Supervisor by the Second (2nd) of each month.

DISCIPLINARY ACTION PROCEDURES

 

The success of COASTAL Projects will be to a large extent, dependent upon the cooperation from both
COASTAL and subcontractor employees, and strict compliance with established safety rules, regulations,
policies, etc. All employees are required to comply with the safety rules that apply to the task they are
assigned, The purpose of discipline is not to penalize the employee, but to assist in changing undesirable
work habits into good ones, thereby eliminating the potential for injury or damage.

In order to be effective, the disciplinary program must be enforced in a fair and consistent manner, taking
into account the severity of the undesirable act or condition, which occurred or was present, and any
previous disciplinary problems. Fines may be issued to COASTAL and subcontractor employees for non-
compliance with the Safety Program including violations such as, but not limited to hard hats, eye
protection, face protection, etc. Each repeat violation will result in a minimum fine of $50.00,

To insure compliance, infractions of the safety rules, or acts committed by an employee should be handled
according to the following progressive discipline guidelines,

Enforcement Procedure:
I, First Offense
A. Verbal Warning
in those instances where an employes is observed committing an undesirable act or
condition, the employee is to be informed that his/her actions are jeopardizing his/her or
other's safety. The exact nature of the hazard and what is acceptable is to be thoroughly
explained to the employee. The violation is to be brought to the attention of the employee's

Supervisor dnd an informal written note made and filed in the Project’s Safety file.

If the undesirable act is of a serious nature, a written reprimand may be issued for a first
offense.

IL Second Offense
A. Formal Warning Reprimand- Safety Hazard Notification Issued.
In the event an employee is observed committing a second undesirable act of the same
offense, a [completed] Safety Hazard Notification shall be issued. This notification will

explain in detail, the nature of the hazard and a fine of $50.00 (minimum per each
observation),

Example:

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(*) Five (5) Subcontractor employees are observed in the construction area without eye
protection. The COASTAL Supervisor verbally warns the workers and informs them that
eye protection is required at all times. The violation is also to be brought to the attention of
the employees’ Supervisor. Later that afternoon, the COASTAL Supervisor observes the
same workers without the proper eye protection. The Subcontractor will receive a Safety
Hazard Notification and a fine in the amount of $250.00 (5 repeat infractions X $50.00 each
= $250.00). A copy shall be filed in the Project Safety file.

A deduct Change Order will be issued to the subcontractor for the fines accumulated over the
duration of the project.

(*) ALL money collected by COASTAL for these violations will be donated to a local charity.

Iii Third Offense
A A second [completed] Safety Hazards Notification issued for the same safety violation by an
employee shall result in the employee being removed from the Project and shall not be
permitted to return to the site.

 

Three formal written safety reprimands of various offenses shall result in the employee being
removed from the Project and shall not be permitted to return to the site.

 

An employee may be banned from the jobsite at any time if the violation is flagrant or involves
a serious offense (i.e. Riding the headache ball, failure to use required fall protection, etc.).

Subcontractor’s Supervisors who are unable or unwilling to secure personnel performance in

compliance with the contractual obligations of safety shall not be acceptable as Supervisors
and shall be removed from the project.

PERSONAL PROTECTIVE EQUIPMENT

Each Subcontractor shall be required to provide and enforce the use of all personal protective equipment.

Hard hats are required for all individuals and shall be worn as approved by the manufacturer and shall meet
the ANSI Standard Z89,1.

Safety glasses with side shields shall be worn while on this Project and shall meet the ANSI Standard 287.1,
Dark tinted lenses are not permitted while working indoors.

Long pants- No shorts.
Hearing protection shall be required when noise levels exceed 85 decibels.

As a minimum, sturdy work shoes or boots are required for foot protection. No tennis shoes, soft soled shoes
or steel toe sneakers shall be permitted.

Shirts with at least 3" sleeves are required.

Work gloves shall be required where hand injuries may occur.

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Face shields, in addition to safety glasses, shall be worn when using tools such as grinders, partner saws, block
saws and any other similar equipment.

Body Harnesses attached to shock absorbing lanyards/retractable lanyards shall be worn for fall protection-
No Safety Belts,

CONCRETE AND MASONRY

 

Each Subcontractor shall have available at the jobsite, formwork, shoring erection and removal plans as
required.

All masonry and concrete wails greater than 8 feet high shall be adequately braced to prevent overturning and
to prevent collapse.

A limited access zone shall be established prior to the start of concrete construction, This zone shall be equal
to the height of the wall plus four feet.

All protruding rebar which employees can fall into/onto shail be guarded to eliminate the hazard of
impalement, This includes stubbed up conduit and pins driven into the ground for bracing.

Mushroom style rebar caps do not provide adequate protection and shall not be permitted as protection from
impalement. These caps shall only be used for scratch protection only.

Employees placing rebar at elevations over six (6) feet above the ground, slab, or other working surface shall
be required to use appropriate positioning and fall arrest equipment.

Reinforcing steel may not be hoisted by #9 wire- properly rigged chokers must be used. No overhead hoisting
with shake out hooks.
ELECTRICAL

Only trained and qualified personnel shall be permitted to work on electrical/mechanical equipment and
installations.

Ground Fault Circuit Interrupters (GFCT) shall be used on all wiring systems - (including generators and
welders).

Damaged electrical tools and equipment shall not be permitted on site.

Cords and cables shall either be suspended a minimum of 7 feet above the walking surface (with an insulated
hanger) or shall be placed in such a manner to prevent damage or constitute a tripping hazard.

Guards or shatterproof bulbs shall protect all temporary lights and lighting in trailers.

ENERGY CONTROL/LOCKOUT

 

Bach Subcontractor shall at all times, enforce an energy lockout program when working on or nearby
machinery or equipment where the unexpected movement or release of stored energy could endanger

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employees. Subcontractors shall provide a copy of their Company’s Lockout/Tag-out Program to the
COASTAL Supervisor prior to work operations for review.

All energized equipment shall be locked out / tagged out prior to the commencement of work operations. -The
equipment shall be tested prior to the work operation to ensure that all stored energy has been released.

EXCAVATION & TRENCHING-

 

The Subcontractor shall submit the name of the responsible “Competent Person” regarding Excavations to the
COASTAL Supervisor, The Subcontractor’s Supervisor and the Competent Person shall be responsible for
ensuring that his employees and lower tier subcontractors comply with all applicable standards.

Prior to any excavation operation, all underground utilities shall be located.

All trenches and excavations greater than four (4) feet deep shall have an access ladder placed every twenty-
five (25) feet of lateral travel.

All excavations greater than 5 feet deep shall be inspected and documented daily on the COASTAL Daity
Excavation Inspection form (or equivalent) by the “Competent Person.” If environmental conditions change,
such as heavy rains, the excavation may warrant additional documented inspections.

All excavations greater than 5 feet deep shall be protected from cave-ins by benching, sloping, shoring or
other protective means such as trench boxes.

All spoils shall be kept at least two (2) feet from the edges of the excavation.

Guardrails, fencing, barricades or covers shall protect all excavations.

FALL PROTECTION

The Subcontractor shall submit the name of the responsible “Competent Person” regarding fall protection to
the COASTAL Supervisor, This individual shall be responsible for ensuring that his employees and lower
tier subcontractors comply with the COASTAL Site Safety and Health Plan.

All employees working at elevations or exposed to a fall of 6 feet or greater shall be trained in the proper
use, inspection and storage of fall protection equipment.

All employees exposed to a fall of six (6) feet or greater shall be protected from falling by using guardrail
systems, safety nets, or personal fall arrest systems. This includes steel erection, decking installation, roofing
operations and work performed from scaffolds.

Personal fall arrest/restraint systems shall be utilized when occupying any type of aerial lift (including
scissors lifts),

All personal fall arrest systems shall be attached to an anchorage point capable of supporting a minimum of
3000 pounds or engineered to support twice the maximum intended load.

All lanyards shall be equipped with shock absorbers and locking type snap hooks.

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All “holes” or openings greater than 2 inches shall be covered and secured against displacement. Such
covers shall be able to withstand twice the maximum intended load and labeled with “HOLE” or “COVER”
and “DO NOT REMOVE.”

All employees working from ladders exposed to a fall of 6 feet or greater shall be protected from falling by
using an appropriate fall arrest system unless the Subcontractor can show that it is not feasible or it creates a
greater hazard,

During scaffold erection and dismantling, employees exposed to a fall of 6 feet or greater shall be protected
from falls when an appropriate anchorage point is reasonably available unless the Subcontractor can show

that such protection creates 4 greater hazard. Documentation shall be provided to the COASTAL Supervisor
prior to such operations.

FIRE PROTECTION/PREVENTION

Each Subcontractor shall be responsible for ensuring that al] employees and lower tier subcontractors
comply with all applicable standards.

All employees shall be trained in the proper type and use of fire extinguishers, Training documentation shall
be made available upon request.

Emergency phone numbers shall be posted at phones and personnel entrances.

All spark producing operation shall require the use of fire extinguishing equipment rated not less than 2A-
20B:C,

All tarps and blankets shall be constructed ofa fire retardant material.

Open fires shall not be permitted.

Use of gas or diesel powered tools and equipment in enclosed spaces shall be avoided at all times.
Exceptions may be made only if the use of the power tool(s) and/or equipment is determined necessary by
and is authorized by the COASTAL Supervisor. In the case of such exceptions, measures shall be taken to

ensure adequate ventilation to prevent build up of exhaust fumes and fuel vapors.

All gasoline and diesel powered equipment adjacent to, or inside a building or structure shall have a fire
extinguisher rated not less than 2A-20B:C available for use.

The travel distance from any point to the nearest fire extinguisher shall not exceed 100 feet.

WELDING AND CUTTING

 

Hot Work Permits may be required for some work operations and shall be issued at the discretion of the
COASTAL Supervisor.

Proper eye protection shall be worn for welding and cutting operations. Tinted lens safety glasses do not
provide adequate protection and shall not be worn.

Torches shall be lighted by friction lighters or other devices and not by matches or from other hot work.

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When practical, objects to be welded, cut or heated should be moved to an area free of fire hazards, or if the
object cannot be moved, all movable fire hazards shall be moved out of the area, and all other hazards
protected,
When the welding, cutting or heating operation is such that normal fire prevention precautions are not
sufficient, additional personnel (fire watch) shall be assigned to guard against fire while the operation is
being performed and for a sufficient period of time after the completion of the work to insure that no
possibility of fire exists, When operations are conducted on walls, floors, and ceilings, steps shall be taken
to insure against fire hazards on the opposite side from the work.
A fire extinguisher rated not less than 2A-20B:C shall be immediately available wherever welding or cutting
operations are being conducted.
MOBILE MATERIAL HANDLING E MENT
Absorbent diapers shall be utilized on all equipment where a chance of an oil leak exists.

Damaged/defective equipment shall not be permitted on any COASTAL Project.

All vehicles/material handling equipment shail be equipped with functioning backup alarms and warning
horns. "

Only properly trained and authorized personnel shall be permitted to operate hoisting equipment and mobile
equipment, This shall also include powered industrial trucks and forklifts.

Operators of cranes and mobile equipment shall be required to inspect their equipment prior to start up each
day to insure that the equipment is in safe operating condition. Defective equipment shall not be used.

Seat belts shall be worn while operating all types of material handling equipment.

Fire Extinguishers shal] be located on all types of material handling equipment

CRANES

The Subcontractor shall submit the name of the “Competent Person” for the inspection of rigging, to the
COASTAL Supervisor. This individual shall be responsible for ensuring that all employees and lower tier
subcontractors comply with all standards covered under 29 CFR 1926 Subpart H.

Current annual crane inspections must accompany all cranes. Copies shall be forwarded to the COASTAL
Supervisor, This document shall remain on file at the jobsite for duration of the project,

Crane operators shall sound the crane’s horn to warn individuals of the overhead hazard. Loads shall be
routed as to minimize exposure to workers,

Tag lines shall be used when hoisting all material overhead. Exception: Loading and unloading trucks.

Shakeout hooks shall be used for loading/unloading trailers and not used for swinging loads overhead.

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Hand signals for crane use shall be posted. Only trained personnel shall be permitted to signal the crane
operator. Subcontractors using cranes shall post standard crane signals at the jobsite.

A. Critical lift Questionnaire (or equivalent} shall be completed when the materials being hoisted meet or
exceed 75% of the cranes rated capacity.

Crane or Derrick suspended personnel platforms shall not be used unless the erection, use, and dismantling
of conventional means of reaching the work site would be more hazardous or not possible. No hoisting of
personnel should be done without the approval of the COASTAL Supervisor.

The operation of hoisting equipment in the vicinity of high voltage lines is a recognized construction hazard
and as such adequate planning shall eliminate or reduce the exposure as much as possible. The use of
hoisting equipment in the vicinity of high voltage lines shall be kept to an absolute minimum. Whenever
operating in the vicinity of power lines is unavoidable, measures to safeguard the operation and other
employees in the vicinity must be taken and may include:

e Instructing employees of hazard;

Deactivation of energized lines;

Installing insulating material on power lines;

Providing employee as “spotter” to insure that the proper clearance is maintained.

However, when the operation of hoisting equipment in the vicinity of power lines is unavoidable, the
requirements under 29 CFR 1926 Subpart N, must be maintained.
MOTOR VEHICLES

All vehicles brought on to any COASTAL Project shall be insured per COASTAL Insurance requirements
specifications.

Operators of motor vehicles shall carry a valid driver’s license,

All vehicles entering/leaving the Project shall be subject to search.

HOUSEKEEPING

Rubbish, Debris, waste, and useless material constitute fire and accident hazards and shall be removed from
the work area as fast as they accumulate, but no less often than daily.

Nails shall be bent over or removed from all construction material,
All formwork shall be promptly removed to storage/staging areas afier stripping operations are completed.

All stairways, corridors, ladders, catwalks, ramps, passageways and work platforms shall be kept clear of
loose material and trash.

Hoses, welding leads, electrical cords, etc. shall be placed overhead or out of walkways in such a manner as
to eliminate tripping hazards.

Oily rags, flammable liquids and other similar materials subject to spontaneous combustion shall be placed
in fire resistant covered containers and disposed of daily.

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Materials and supplies shall be kept from edges of hoistways, stairways, floor openings and when exterior
walls are being built away from the perimeter of the building,

Tools shall not be strewn about where they may cause tripping and/or falling hazards and shall be properly
collected and stored at the end of the day.

Upon completion of work in an area, thorough clean-up shall be done prior to relocating to another work
area,

Access areas and work surfaces are to be maintained in a mud/ut free condition by use of stones or other
ageregate material to eliminate the possibility of slips, trips, or falls.

Workers shall be instructed to practice required housekeeping as part of their assigned duties.
Subcontractors shall maintain an orderly worksite free from accumulations of construction debris, Clean up
shall be performed on an ongoing basis. Any trash, debris, or liquid that poses a possible threat of fire or
safety shall be removed from the premises immediately. If, after 24 hours notice by COASTAL to the
Subcontractor, the Subcontractor has not diligently proceeded with the clean-up work as outlined in this
section, then COASTAL has the right to proceed with the clean-up work at the Subcontractor’s cost and
expense.

SIGNS AND SIGNAGE

Each Subcontractor shall provide and properly locate and maintain warning signs, lights, barricades, railings

and other safeguards for the protection of workers and others on, about, or adjacent to their work, as
required.

AERIAL WORK PLAT. S

Each Subcontractor shall ensure that aerial lift platform operators have been trained in accordance with the
manufacturer’ s operation manual before operating the aerial lift platforms.

Personal fall arrest/restraint systems shall be utilized when occupying any type of aerial lift (including
scissors lifts), Lanyards attached to scissors lifts shall be adjusted to restrain the worker from falls.

All personal fall arrest systems shall be attached to an anchorage point capable of supporting a minimum of
5000 pounds or engineered to support twice the maximum intended load.

Barricades shall be erected below any overhead work area.
Steps, ladders, or similar items shall not be placed on platforms to provide additional reach.

Aerial work platforms shall not be “field modified” for uses other than those intended by the manufacturer
unless the modification has been certified in writing by the manufacturer.

Gates and mid-chains shall be kept closed and locked when in use,

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OVERHEAD WORK GPERA1:0NS

When overhead work poses a hazard, the floor/ground area below shall be barricaded and posted with a sign
to read “DANGER, KEEP CLEAR, PERSONNEL WORKING OVERHEAD,”

CONFINED SPACE

Subcontractors who anticipate entering confined spaces must first provide the COASTAL Supervisor with a
copy of their Company’s Confined Space Program in accordance with 29 CFR 1910-General Industry
Standards.

No worker shall be permitted to enter a Permit Required Confined Space unless the atmosphere has been
tested and the worker is properly trained.

An approved confined space entry permit shall be utilized.

LADDERS & SCAFFOLDS

 

Each Subcontractor shall submit the name of the “Competent Person” regarding ladders and scaffolds to the
COASTAL Supervisor. This individual shall be responsible for ensuring that “his” employees and lower tier
subcontractor employees comply with all applicable standards.

All Scaffolds shall be erected, moved, or dismantled only under the supervision of his employer's
“Competent Person.”

Each Subcontractor shall provide safe access to all scaffolds/work platforms.

All scaffolds shall be inspected and TAGGED by the Competent Person prior to use and following any
modifications.

Employees working from scaffolds, exposed to a fall of 6 feet or greater, shall be protected by guardrails,
safety nets, or personal fall arrest systems.

Employees are not permitted to ride mobile scaffolds.

During scaffold erection and dismantling, émployees exposed to a fail of 6 feet or greater shall be protected
from falls when an appropriate anchorage point is reasonably available unless the Subcontractor can show
that such protection creates a greater hazard. Documentation shall be provided to the COASTAL Supervisor
prior to such operations.

Periodically, the Subcontractor’s “Competent Person” shall inspect ladders for visible defects. Damaged
ladders shal] be withdrawn from service until repaired.

Approved access ladders (No stepladders) shall be provided on all scaffolds. Climbing the scaffold bucks or
cross bracing shall not be permitted.

Metal ladders shall not be used around electrical installations and at the discretion of the COASTAL
Superintendent.

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When ladders are used to access upper elevations, the side rails shall extend at least three (3) feet above the
landing.

Stepladders shall not be used as straight ladders - stepladders shall be fully opened with the spreaders
locked,

All straight ladders shall have “safety feet” and must be secured against displacement.

Employees working from ladders, exposed to a fall of 6 feet or greater, shall be required to wear and use
appropriate fall protection unless the Subcontractor can show that it is not feasible or creates a greater
hazard.

RESPIRATORY PROTECTION

 

Each Subcontractor using respiratory protection shall submit the name of the “Qualified Person” regarding
respiratory protection to the COASTAL Supervisor, This person shall be responsible for ensuring that “his”
employees and lower tier subcontractor employees comply with all applicable standards.

When possible, all hazards shall be eliminated by accepted engineering controls. When not feasible,
appropriate respiratory protection shall be provided by the Subcontractor.

Employees performing tasks that require the use of respiratory protection shall receive a medical evaluation
and appropriate training prior to donning the respirator.

Each respirator wearer shall be properly fit-tested. Documentation shall be kept on file at the job site.

TOOLS - HAND / POWER / ATR

The Subcontractor Supervisor shall be responsible for ensuring that all workers and lower tier subcontractors
comply with all applicable standards.

Damaged/Defective tools shall not be permitted on COASTAL sites,
Guards and/or safety devices shall not be removed, altered, blocked, or circumvented in any way.

Makeshift or jury-rigged tools shall not be permitted on any COASTAL Project.

Face shields, in addition to safety glasses, shall be worn when using tools such as grinders, partner saws,
block saws, or similar tools or equipment.

Ail personnel using powder-actuated tools shall be able to provide documentation (cards) of adequate
training, by the manufacturer’ representative.

Powder actuated tools shall not be loaded until immediately before use. “Spent” loads shall be discarded in
trash receptacles and not on the ground.

Pneumatic air and power tools shall be secured to the hose or whip in a positive manner to prevent
accidental disconnection.

Safety clips or retainers shall be securely installed and maintained on pneumatic impact tools to prevent
attachments from being accidentally expelled.

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BULK STORAGE AREAS
The COASTAL Supervisor shall designate fuel storage and lay down areas,

“No Smoking or Open Flame” signs shall be conspicuously posted at fuel storage areas. Appropriate fire
extinguishers shall be located in the immediate area.

Fuel storage tanks shall be placed in containments or diked to contain spills. Two (2) layers of six- (6) mil
plastic shall protect the ground area inside the berm/dike. All seams of the plastic layers shall be sealed so
not to allow feakage of fluids.

All large fuel storage tanks shall be grounded.
All containers shall be clearly marked to show the contents.

Unless in the original container, only UL approved metal (no plastic) safety cans with flash arrestors shall be
used for the handling and use of flammable and combustible liquids of five (5) gallons or less.

Oxygen and Acetylene bottles shall be stored at least twenty (20) feet apart or separated by a firewall. A fire
extinguisher shall be located within seventy-five (75) feet of travel.

All stored compressed cylinders shall be capped and secured in an upright position. “No Smoking” signs
shall be posted.
HAZARDOUS MATERIALS

Subcontractors shall be required to IMMEDIATELY notify the COASTAL Supervisor of any spillage of
hazardous materials, regardless of the quantity,

Drums or other containers uncovered during excavation operations shall be reported immediately to the
COASTAL Supervisor.

When the disposal of hazardous waste is necessary, a proper manifest shall be required. Copies of all
manifests shall be forwarded to the COASTAL Supervisor.

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Coastal Condominiums
EMERGENCY/CONTACT
PERSONNEL

 

Subcontractor Name FP, RECA Stu Dey Wade ye,

Project Name/Address

 

 

 

Subcontractor’s Project Manager:

Name \ohn S ce rT

Phone/Pager S6i-~ “U34-O7T6R

Subcontractor’s Project Foreman:

Name \whe kK.

Phone/Pager sit- “36- J0o83

Subcontractor’s On-Site Safety Rep:

Name Noho Scot
Phone/Pager Séi- 42¢- 8762

Subcontractor’s On-Site Employee with a current certification in First aid/ CPR

Name
Phone/Pager

 

 

Name of Subcontractor’s On-Site “Competent Person” (if applicable) regarding:

Trenching/Excavation
Fall Protection
Rigging
Ladders/Scaffolds
Name of Subcontractor’s On-Site Qualified Person for Steel Erection

 

 

 

 

 

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Coastal Condominiums -
Dally Excavation Inspection

 

 

 

 

 

Form
Jobsite: Date:
Competent Person:
If evidence of cave-ins or slides is apparent, all work in the excavation shall cease until the necessary precautions have been taken to
safeguard workers,

Use a “checkmark” to indicate yes or fill in blank with applicable information or description.
LI Utilities Contacted
MO Excavation/trench four (4) or more feet deep, Ifso; adequate means of exit such as ladders, steps or ramp located within 25 feet
of lateral travel.
oO Excavation/trench five (5) or more feet deep. If so; shoring, sloping or guarding in place.
EJ Spoils retained a minimum of two (2) feet from edge of excavation,

 

 

 

 

 

 

Soil Type and Conditions

Soil Type: Ci StableRock [J A CIB Cie
Description: (1 Good] Poor [} Stable LJ Unstable
Soil Conditions: [[} Frost] Dry [| Saturation (_] Partial Saturation

Excavation Site Description
Locetion : Area Congested: [[] Yes [1] No
Trench: Depth Width ss Length Intersect or Angular (circle one)
Utilities Stake Date: ‘ Open Date/Time Cd Right-of Way Access OK
Crossing Trench: [J Lines] Road/Alley
Parallel to Trench: CO Lines[] Road/Aliey ([] Building(s)
(9 Pole Bracing ([] Overhead Lines (clearance) (1 Structural Bracing
CA Registered Professional Engineer (RPE) Consulted (reason): [] required for excavations over 20 feet deep

Other:

 

Describe any changing conditions, plans, or shoring equipment damage:

 

 

 

 

 

Employee & Public Safety Inspection

CF Ladders (4 Ramp(s) forPersonnel [[] Ramp(s) for Equipment [] Water Removal
Ct Fencing ["] Emergency Equipment ([] Air Quality Testing [) Traffic Control

 

 

 

 

CO Barricades [7] Barricade Tape CD Lighted Barricades ( Weekend Protection

1 Cones [] Steel Plating L] Other:

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PD000690
COASTAL-Daily Excavation Inspection Form

 

 

 

Page 2
Protection System Selected
L] Hydraulic Shoring System | [[] Timber Shoring System (] Trench Shield
[-] Sloped Angle of Repose (] Benched [-] Unsupported Wall - Height
. : (max 5” only for stable rock or Type A soil)
Soil Conditions

Manual Tests: Cohesive Fissured Cohesive Granular
"Will normally be performed by a testing lab
Plasticity & Pat Tests:

Thread Test O C] Oo]

Ribbon Test C4 LC) C]
*Dry Strength L] C C]
Thumb Penetration [] Type A (1/4” of less) [[] Type B (1/4” to 1”) (J Type C (1" or more)
*Pocket Penetrometer Test)
*Other Test:

 

Note: If one manual & visual test for each is not done, trench must he sloped or shored for Type “C” Soil,

Visual Tests (tecommend doing as many as possible):

 

 

Cohesive Granular
Soil Pile: (_} Remains in clumps {'] Breaks upeasily
{] Fine grained clay _) Coarse grained silt, sand or gravel
Trench Sides [_] Stands vertical over 2 hours [_] Sloughs into trench
{_] Fine grained clay’ [| Coarse grained silt, sand or gravel
Hazard Indicators
Fissures: ([] Trench side (cracks or spalls) CJ Top of trench (cracks, openings)

L] Soil layers slope into trench 4:1 or steeper (possible wedge failure)
LI Rock layer above soil layer
Seepage into trench from sides, surface or bottom (circle applicable area)
(] Water up to % of trench depth within last 24 hours (trench should be visually inspected prior to workers entering
[] Vibration sources may effect trench stability (pile driving, heavy traffic)
(] Prior or existing excavation: crossing trench or parallel (circle one)
Hl Sloughing of sides info trench at 3:1 slope or steeper (shoring or trench box should be used)

 

Crane setting up near trench/excavation (check for fissures and soil stability even at distances far from the trench)

 

 

 

 

 

 

 

 

 

Weather Conditions
Date of Inspection: Clear Overcast Rain Other Inspected By:
O 0 0 O
O O 0 OC
Oj O 0 O
a) a) Cl |
L} O C) C
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COASTAL INCIDENT REPORT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“i TYPE OF INCIDENT:
T | PERSONAL INJURY [| LLNESS T| HOSPITALIZATION OR FATALITY: PRIVILEGED ANDCONFICDENTIAL -
ATTORNEY WORK PRODUCT PREPARED IN ANTICIPATION CF LITIGATON
JOBNAME _- JOB NO. OSHA 300 LOG CASE NUMBER
JO8 ADDRESS
DATE AND TIME OF ACCIDENT Clam Ftp,
PHOTOGRAPHS TAKEN lyes I INo IF YES, BY WHOM
PERSON INJURY REPORTED TO DATE REPORTED
1. INJURED PERSON Tl wate 1] reMace
INJURED'S NAME SOCIAL SECURITY NO.
DATE OFBIRTH NO. OF DEPENDENTS
MARITAL STATUS HOME TELEPHONE NO,
HOME ADDRESS GRAFTIYRS EXPERIENCE
DATE OF HIRE/ON JOB
2, ABOUT THE 21INJURYALLNESS (CHECK ALL THAT APPLY)
INJURY CLASSIFICATION CAUSE OF INJURY TYPE OF INJURY
T| NOTIFICATION ONLY [| struck py T | coMTAGT WITH SUBSTANCE OR MATERIAL T| surn [| puncture
I] emer ato ONLY CT struckacanst [| repermvemonon P| aceRATiON T} FRACTURE
MEDICAL TREATMENT T| caucHt perween | workptace WoLeNce | aBRAsion [| MUSCLE STRAIN/SPRAIN
T | EMERGENCY ROOM TREATMENT J7| ravusuerrie | aurowrnmwury | contusion T] pistocation
[| MospiTALiZEDoveRNicHT-inpanient UL uiFtiING F| omer (| perwatmis T | aLlercic REACTION
OSHA RECORDABLE | roreensopy =| oer
FATALITY- DATETIME
Tl omer
NAME OF MEDIGAL PROVIDER
ADDRESS OF MEDIGAL FROVIDER
(CHECK AND CIRCLE APPROPORATE LETTER - WORD - NUMBER} CHECK PERSONAL PROTECTIVE EQUIPMENT USED
| ever. L. orn) I] ara ca Lb. BOTH) Fliescr sora I] warp Hat
HEAD, NECK, FACE | mano R. L BOTH) T sspomen | sarety caresses
TT] kNeE (RL. BOTH) Th FINGERS (R. L.)TH--234 | eutrocks | sLoves
CHEST T | Feer¢R. L. BOTH) fT] ANIMER. L. BOTH) | resriraTor
[| pack (UPPER - MIDDLE - LOWER) T] roes(r. Ly 4-2o48 | cron T| sony HARNESS

I] soir @PECIFYR. 4) Tl omer

3. NA T Use Additional Paper If

 

 

What was the amployee doing just before the Incldent occurred? Describe the activity as well 25 the tools, equipment, or material the employee was using. Be specific, Examples:

 

“climbing a ladder whila carrying roofing materials’; “spraying chlorine ffom hand sprayer": “daily computer key-entry.”

 

 

What happsned? How did Injury occur? Examples: “When ladder sipped on wet floor, worker fell 20 feef"; "Worker was sprayed with chlorine when gasket broke during
replacement’; "Worker developed soreness in wriet over time.”

 

 

What was the injury or Hingse? What pert of the body was affected and how was It affectad, Be mora spacific than "hurt"; "paln” or “sore.” Examples: “strained back” “chemical
burn, hand"; “carpal iunnel syndrome.”

 

 

What ct or substance diractly harmed the am ea? E) fe; “concrete floor’; “chlorine; “radial arm saw.” if this question does not apply to the incident, leave it blank.

 

 

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4 EMELOVER'S INFORMATION

 

TELEPHONE #,
NAME OF EMPLOYER ; OF EMPLOYER

ADDRESS OF EMPLOYER

 

 

 

SUPERINTENDENT!
FORMAN'S NAME

 

SAFETY CONTACT PERSON

 

DO YOU KNOW OF ANY REASON THIS CLAIM SHOULD BE CONTESTED?

Tl xo Tlyes REASON

 

 

5. ABOUT THE ACCIDENT

WITNESS: NAME

 

ADDRESS

 

TELEPHONE #

 

EMPLOYER

 

WERE STATEMENTS OBTAINED {”Lwo Ul yes cp rease ATrAciD

WERE ANY OTHER EMPLOYER'S TOOLS, PERSONNEL, OR EQUIPMENT CONTRIBUITNG FACTORS = | sT No Clyes EYES. CompLeTE BELOW)

EMPLOYER'S NAME

 

EMPLOYER'S ADDRESS

 

EMPLOYER'S TELEPHONE

 

 

 

 

 

 

 

 

 

 

 

 

HAS THIS INCIDENT BEEN REPORTED To. osHA?—! lyes_ Ino DATETIME
CONTACT NAME
NOTE: nt rep Hons Metedt tn

 
 

 

Follow Catastrophic Accklent Reporting Procedures in the event of hospitalization and/or fatality.
Any hospitalizailon and/or property damage In excess of $500.00 requires the employer te implement substance abuse testing
Per the drug and alcohol poilcy,

 

 

 

 

 

ot 305/221-5005,
GNATURES:
SUPERINTENDENT. DATE PREPARER
__________ ___ DATE
; Initia! (KE)
January 10, 2003 Page 25 of 32 >

initias__//
PDO00069
*Job Hindrane-s interrupt or interfere with the orderly pror ‘ss of the job."

SUPERVISOR'S INVESTIGATION REPORT

 

 

 

 

 

 

Name Age Time Date
Department - Shift Job How long on this job?
What Happened? Describe what took place

or what caused you to

 

make this investigation,

 

 

Why Did It Happen’?

 

Get all the facts by studying

 

the job and
situation involved.

 

Question by use of WHY -
WHAT - WHERE - WHEN -

 

WHO - HOW

 

 

What Should Be Done and Whe Is Assigned To Correct?

Determine which of the
12 items under EMP
require additional attention.

 

Equipment Material People

 

 

Select Select Select
Arrange Place © Place
Use Handle Train
Maintain Process Lead
What Have You Done Thus Far And What Is The Anticipated Completion Date?

 

 

 

 

Take or recommend action,
depending upon your authority.
Follow up - was action effective?

 

How Will This Imprové Operations?

 

Investigated by

OBJECTIVE
Eliminate job hindrances

 

 

Date

 

 

Reviewed by

Date

 

 

 

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Coastal Condominiums

le 4 SAFETY HAZARDS
NOTIFICATION FORM

 

 

 

 

 

To: ; Company: Title:
From: Company: Title:
Project:

 

SAFETY HAZARD: The following unsafe actions or conditions were noted and must be
corrected.

 

 

 

 

 

 

 

Recelved by: Date:

CONTRACTOR RESPONSE: | have taken the following action(s) to correct the above
noted items

Signed: Date:

 

The above listed items must be corrected within 24 hours of receipt of this form unless
specified. IMMEDIATELY return this form to the Superintendent --keep a copy for your file.

DISCLAIMER:

The report of the above items are not Intended to indicate that other unsafe conditions do not
exist nor is it intended to imply that other violations an/or hazards not observed or reported
thereon are safe and under control at the time of this survey. You are not in any way relieved
of your complete responsibility for compliance with OSHA regulations for safety, health, and
security of your employees or work areas under your control.

Cc: Project file
Branch Safety Director

Tniti

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. |

Coastal Condominiums

VISITOR WAIVER AND
RELEASE

 

 

This WAJVER AND Release if entered into this day of by
(hereinafter “VISITOR”) AND

 

COASTAL CONDOMINIUMS, (HEREINAFTER “CONTRACTOR’).

WHEREAS, CONTRACTOR has advised VISITOR that the construction site is not ordinarily
Sultable for visits or inspections by persons other than construction personnel, bullding inspectors or similar
individuals and that the site may not, due fo the nature of the construction, be completely free of any
obstacles, obstructions or other hazards which may cause injury to visitor and,

 

 

WHEREAS, VISITOR understands that the construction site is not risk free and that he/she has been
advised that in order to access the site a Walver and Release must be provided to CONTRACTOR agreeing
to hold the CONTRACTOR harmless and free from any fault or responsibility for any Injury, damage or harm
which might result because of any condition or construction operation ongoing at the site,

 

NOW THEREFORE, the parties, in exchange for thelr mutual agreements, hereby agree as follows:
1. The representations set forth above are true and correct.

2. VISITOR agrees to hold the CONTRACTOR hammless from any and all damage
caused by any accident, injury or other harm which visitor may incur as a result of a
visit to the project site which Is to occur on or about

3. VISITOR hereby waives any claim against CONTRACTOR, its parent and affiliated
companies, and/or its insurance carriers for any action, cause of action or entitlement
which VISITOR may have which arises or might arise as a result of the VISITOR,
visiting, Inspecting or viewing the project site at which the CONTRACTOR Is currently
working or has performed-work. oe

4. This Agreement is intended to be a full waiver of claims against the CONTRACTOR,
Its parent and affiliated companies, and its insurance carrier, it belng understood and
agreed that the CONTRACTOR would not ordinarily permit VISITOR to Inspect the
project site but is doing so only in consideration of it being granted a full release from
any potential claim which might arise as a result of such a visit,

 

 

 

 

 

COASTAL CONDOMINIUMS: VISITOR:
By: By:
Witness: By:
Date: ; Date:
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CRITICAL LIFT
QUESTIONAIRE

 

 

1. CRITERIA

LOAD EXCEEDS 75% OF LOAD CHART FOR CRANE OR DERRICK
TWO OR MORE CRANES/BOOMS REQUIRED

SPECIAL HOISTING/RIGGING EQUIPMENT WILL BE UTILIZED
OTHER - SPECIFY

I} |

 

2. DESCRIPTION OF OBJECT TO BE RAISED

 

 

3. HOW WEIGHT OF OBJECT WAS OBTAINED

A. CERTIFIED SCALE WEIGHT TICKET #
B. CALUCULATED INDEPENDENTLY BY MORE THAN ONE SOURCE
1. SOURCE WEIGHT

 

2. SOURCE WEIGHT
Cc. IF LIFT IS AN EXISTING ITEM (BEING REMOVED OR DEMOLISHED),
THE WEIGHT IS TO BE RECALCULATED, TAKING INTO ACCOUNT ALL
MODIFICATIONS INCLUDING INTERNAL, AS WELL AS AN ALLOWANCE
FOR SCALE, SEDIMENT, SLUDGE, INSULATION, LIQUID, ETC. -

1. SOURCE WEIGHT

2. SOURCE WEIGHT

 

 

 

4, DESCRIPTION & WEIGHT OF ALL RIGGING EQUIPMENT & CRANE ATTACH-
MENT DEDUCTIONS FROM LOAD CHARTS.

 

 

SOURCE WEIGHT

 

5. TOTAL WEIGHT OF OBJECT, RIGGING & LOAD CHART DEDUCTIONS.
SOURCE WEIGHT

 

6. EQUIPMENT AND LIFT RELATIONSHIP

CRANE MAKE

MODEL,

MAXIMUM OPERATING RADIUS
PLANNED OPERATING RADIUS
ALLOWABLE LOAD (FROM LOAD CHART)
RATIO OF LIFT TO ALLOWABLE LOAD
CLEARANCE BETWEEN BOOM & LIFT
CLEARANCE TO SURROUDING FACILTIES
CLEAR PATH FOR LOAD MOVEMENT

 

 

 

 

 

 

TILA MMOO WS

 

7. HAS ALL LIFTING EQUIPMENT AND RIGGING BEEN INSPECTED AND
FOUND IN ACCEPTABLE CONDITION FOR THIS LIFT

 

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CRITICAL: LIFT QUESTIONAIRE

PAGE 2 OF 2

8. STABILITY OF GROUND AREA:
A. SOIL BEARING CAPACITY SOURCE
B. ARE MATS REQUIRED SIZE & NUMBER

10.

11.

12.

13.

-

om sl

Cc, ANY UNDERGROUND INSTALLATIONS NEED SPECIAL TRTMNT
D. RATIO OF SOIL BEARING CAPACITY TO ACTUAL

 

WILL A WRITTEN LIFT PLAN & LIFT DRAWINGS BE REQUIRED FOR THIS
LIFT __

TYPE OF COMMUNICATIONS TO BE UTILIZED AND SPECIFIC RESPONSI-
BILITIES OF COMMUNICATORS

 

WHAT ARE WIND & WEATHER RESTRICTIONS

 

 

HOW WILL LIFT AREA BE KEPT CLER OF UNNECESSARY PERSONNEL

 

ANY SPECIAL CONDITIONS THAT LIFT PERSONNEL NEED TO BE AWARE
OF ;

 

CRITICAL LIFT APPROVALS
CRANE INSPECTORS - NAME

 

RIGGING INSPECTORS - NAME

 

RIGGING SUPERINTENDENT - NAME

 

LIFT SUPERVISOR ~- NAME

 

PROJECT ENGINEERING - NAME

 

PROJECT MANAGER - NAME

 

SIGNAL MEN-NAME

 

CRANE OPERATORS - NAME

 

DON’T FORGET THE LAW OF GRAVITYII

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aSsvOvYOM SAVG SWIL | SWLLISOT! SSSANTT/ SSIMNPNI id3roud Hos HLNOW SIHL YOLIVALNODENS
GS LIMLS3ae4 VHSO | LSOTVHSO VYHSO A1sgvVdNOIsy VHSO | SHYNOH ZALLVINAND | GANxOM SUNOH
Modey Juep|ooy / 4NO} URI 10}9e12U0DqNS

 

 

 
COASTAL CONDOMINIUMS
* Monthly Safety Activity Report

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CODES
“ Location: Project F sfety Meeting... SM Insurance Carrier Tour.......
Prepared By: Project Safety Tour ........ steneneneeseenstaneves JT OSHA Inspaction ........us0
Month: : Tool Box Meeting ........sssseccserersesersees TS Branch Safety Director
Tour Ts
Project Name & Number 1)z2[a 147s ]6]7]8]9 [10/41] 121 13/14] 46] 16 47] 18] 19 | 20 | 21 | 221 23
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